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U NI T E D S T A T E S DI S T RI C T C O U R T
S O U T H E R N DI S T RI C T O F N E W Y O R K
---------------------------------------------------------- x
                                                             :
U NI T E D S T A T E S O F A M E RI C A                      :
                                                             :
                                                             :
                                                             :
                       - a g ai nst-                         :             C as e N o. 1: 2 1- cr- 2 0 2- G H W
                                                             :
                                                             :
S E P E H R S A R S H A R,                                   :
                                                             :
                                            D ef e n d a nt. :
---------------------------------------------------------- x

        REPL Y ME M O R A N D U M OF L A WI N S UPP O RT OF DEFE N D A NT SEPE H R
          S A R S H A R’ S M O TI O N T O DI S MI S S T H E I N DI C T M E N T, C O M P E L T H E
       P R O D U C TI O N O F A BI L L O F P A R T I C U L A R S, A N D S T RI K E S U R P L U S A G E




                                                                 GI B S O N, D U N N & C R U T C H E R L L P
                                                                 A VI W EI T Z M A N
                                                                 REE D B R O DS K Y
                                                                 2 0 0 P ar k A v e n u e
                                                                 N e w Y or k, N Y 1 0 1 6 6
                                                                 T el e p h o n e: 2 1 2. 3 5 1. 4 0 0 0
                                                                 F a csi mil e: 2 1 2. 3 5 1. 4 0 3 5

                                                                 C o u ns el f or D ef e n d a nt S e p e hr S ars h ar
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                                                     T A B L E OF C O N T E N TS

                                                                                                                                               Pa ge

P R E LI MI N A R Y S T A T E M E N T ................................................................................................ 1

I.        A R G U M E N T.................................................................................................................... 3

          A.         C o u nts I a n d II of t h e I n di ct m e nt Ar e D u pli cit o us a n d S h o ul d b e
                     Dis miss e d. .............................................................................................................. 3

          B.         T h e C o urt S h o ul d Or d er t h e G o v e r n m e nt t o Pr o d u c e a Bill of
                     P arti c ul ars. ........................................................................................................... 1 1

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                                                   T A B L E O F A U T H O RI TI E S

                                                                                                                                           P a g e(s)

C   AS ES

B asi c I n c. v. L e vi ns o n ,
     4 8 5 U. S. 9 7 8 ( 1 9 8 8)................................................................................................................. 1 6

B er k o vi c h v. Hi c ks ,
      9 2 2 F. 2 d 1 0 1 8 ( 2 d Cir. 1 9 9 0)................................................................................................... 2 2

I n r e C ol u m bi a Pi p eli n e, I n c.,
     4 0 5 F. S u p p. 3 d 4 9 4 ( S. D. N. Y. 2 0 1 9)...................................................................................... 2 0

R a m os v. L o uisi a n a ,
     1 4 0 S. Ct. 1 3 9 0 ( 2 0 2 0) ............................................................................................................... 9

St e p h e n v. H a nl e y ,
      2 0 0 9 W L 1 4 7 1 1 8 0 ( E. D. N. Y. M a y 2 1, 2 0 0 9) ......................................................................... 2 2

U nit e d St at es v. B e ntl e y ,
      2 0 0 6 W L 2 1 9 3 4 5 3 ( D. Or e. J ul y 3 1, 2 0 0 6) ............................................................................. 1 5

U nit e d St at es v. Bl a kst a d ,
      2 0 2 0 W L 5 9 9 2 3 4 7 ( S. D. N. Y. O ct. 9, 2 0 2 0) ............................................................................ 1 6

U nit e d St at es v. B ort n o vs k y ,
      8 2 0 F. 2 d 5 7 2 ( 2 d Cir. 1 9 8 7).................................................................................................... . 1 1

U nit e d St at es v. C o nt ori nis ,
      N o. 0 9- cr- 1 0 8 3- RJ S ( S. D. N. Y.)......................................................................................... 1 1, 1 2

U nit e d St at es v. D e F a brit us ,
      6 0 5 F. S u p p. 1 5 3 8 ( S. D. N. Y. 1 9 8 5)......................................................................................... 2 3

U nit e d St at es v. D e P al m a ,
      4 6 1 F. S u p p. 7 7 8 ( S. D. N. Y. 1 9 7 8)..................................................................................... 2 3, 2 4

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      5 5 5 F. 2 d 1 0 9 4 ( 2 d Cir. 1 9 7 7)................................................................................................... 1 9

U nit e d St at es v. E d w ar ds ,
      4 7 3 F. A p p’ x 4 2 9 ( 6t h Cir. 2 0 1 2) ............................................................................................ 1 9

U nit e d St at es v. G a bri el ,
      9 2 0 F. S u p p. 4 9 8 ( S. D. N. Y. 1 9 9 6)............................................................................................. 8




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                                                   T A B L E O F A U T H O RI TI E S
                                                             (c o nti n u e d )

                                                                                                                                          P a g e(s)

U nit e d St at es v. G ar ci a ,
      2 9 1 F. 3 d 1 2 7 ( 2 d Cir. 2 0 0 2).................................................................................................... . 2 2

U nit e d St at es v. H er n a n d ez ,
      9 8 0 F. 2 d 8 6 8 ( 2 d Cir. 1 9 9 2).................................................................................................... . 1 5

U nit e d St at es v. Hi nt o n ,
      1 2 7 F. S u p p. 2 d 5 4 8 ( D. N.J. 2 0 0 0) ........................................................................................ 6, 9

U nit e d St at es v. K assir ,
      2 0 0 9 W L 9 9 5 1 3 9 ( S. D. N. Y. A pr. 9, 2 0 0 9).............................................................................. 2 2

U nit e d St at es v. K e ar n e y ,
      4 5 1 F. S u p p. 3 3 ( S. D. N. Y. 1 9 7 8)............................................................................................... 6

U nit e d St at es v. M a n g o ,
      1 9 9 7 W L 2 2 2 3 6 7 ( N. D. N. Y. M a y 1, 1 9 9 7)......................................................................... 2 2, 3

U nit e d St at es v. M ar gi ott a ,
      6 4 6 F. 2 d 7 2 9 ( 2 d Cir. 1 9 8 1).................................................................................................... ... 8

U nit e d St at es v. M art o m a ,
      2 0 1 3 W L 2 4 3 5 0 8 2 ( S. D. N. Y. J u n e 5, 2 0 1 3) ........................................................................... 1 1

U nit e d St at es v. M ol o n e y ,
      2 8 7 F. 3 d 2 3 6 ( 2 d Cir. 2 0 0 2)................................................................................................... 6 , 7

U nit e d St at es v. M ul d er ,
      2 7 3 F. 3 d 9 1 ( 2 d Cir. 2 0 0 1)................................................................................................. 2 1, 2 4

U nit e d St at es v. M u n oz- Fr a n c o ,
      9 8 6 F. S u p p. 7 0 ( D. P. R. 1 9 9 7)........................................................................................... 4, 7, 8

U nit e d St at es v. N a c c hi o ,
      2 0 0 6 W L 2 4 7 5 2 8 2 ( D. C ol o. A u g. 2 5, 2 0 0 6) .................................................................... 1 2, 1 3

U nit e d St at es v. N a c c hi o ,
      6 0 8 F. S u p p. 2 d 1 2 3 7 ( D. C ol o. 2 0 0 9)..................................................................................... 1 6

U nit e d St at es v. N e al y ,
      2 0 1 6 W L 3 6 6 0 2 6 6 ( A. Ct. Cri m. A p p. J u n e 3 0, 2 0 1 6), aff’ d ( C. A. A. F. M a y 4, 2 0 1 7) .......... 1 9

U nit e d St at es v. Ol m e d a ,
      4 6 1 F. 3 d 2 7 1 ( 2 d Cir. 2 0 0 6).................................................................................................... . 1 0


                                                                         iii
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                                                   T A B L E O F A U T H O RI TI E S
                                                             (c o nti n u e d )

                                                                                                                                          P a g e(s)

U nit e d St at es v. P err o n e ,
      9 3 6 F. 2 d 1 4 0 3 ( 2 d Cir. 1 9 9 1)................................................................................................... 1 9

U nit e d St at es v. Pi nt o- T h o m az ,
      3 5 2 F. S u p p. 3 d 2 8 7 ( S. D. N. Y. 2 0 1 8)...................................................................................... 1 7

U nit e d St at es v. P o p e ,
      1 8 9 F. S u p p. 1 2 ( S. D. N. Y. 1 9 6 0)............................................................................................. 2 3

U nit e d St at es v. R aj ar at n a m ,
      2 0 1 0 W L 2 7 8 8 1 6 8 ( S. D. N. Y. J ul y 1 3, 2 0 1 0) .............................................................. 1 1, 1 2, 1 3

U nit e d St at es v. St e w art ,
      N o. 1 5- cr- 2 8 7-J S R ( S. D. N. Y.)................................................................................................. 1 8

U nit e d St at es v. W alt ers ,
      N o. 1 6- cr- 3 3 8- P K C ( S. D. N. Y.) ......................................................................................... 1 7, 1 8

U nit e d St at es v. W as hi n gt o n ,
      9 4 7 F. S u p p. 8 7 ( S. D. N. Y. 1 9 9 6)............................................................................................. 2 3

U nit e d St at es v. W e y ,
      2 0 1 7 W L 2 3 7 6 5 1 ( S. D. N. Y. J a n. 1 8, 2 0 1 7) .............................................................................. 7

R   U L ES

F e d. R. Cri m. P. 7 .......................................................................................................................... 1 1

F e d. R. Cri m. P. 7( d)...................................................................................................................... 2 4

F e d. R. Cri m. P. 7(f) ......................................................................................................... ............. 1 1




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                                                    P R E LI MI N A R Y S T A T E M E N T

           T h e g o v er n m e nt’s o p p ositi o n bri ef c o nfir ms t h at t h e c h ar g es a g ai nst D ef e n d a nt S e p e hr

S ars h ar ( “ Dr. S ars h ar ”) ar e b as e d o n v a g u e a n d pr ej u di ci al all e g a ti o ns wit h g a pi n g h ol es t h at

d e m o nstr at e Dr. S ars h ar’s i n n o c e n c e. T h e g o v er n m e nt a c c us es Dr. S ars h ar of p assi n g m at eri al

n o n- p u bli c i nf or m ati o n ( “ M N PI ”) a b o ut A us p e x P h ar m a c e uti c als, I n c. ( “ A us p e x ”), t h e c o m p a n y

h e f o u n d e d i n 2 0 0 5, t o a n u m b er of fri e n ds a n d f a mil y m e m b ers. T h e g o v er n m e nt m a k es t h es e

a c c us ati o ns ( 1) wit h o ut off eri n g a n y d et ail a b o ut w h at i nsi d e i nf or m ati o n Dr. S ars h ar is all e g e d

t o h a v e r e c ei v e d or p ass e d or w h e n h e r e c ei v e d s o m e of t h e i nsi d e i nf or m ati o n; ( 2) wit h o ut

pr o vi di n g a n y pr o b ati v e or a d missi bl e e vi d e n c e of t h e s u bst a n c e of a n y of his c o m m u ni c ati o ns

wit h all e g e d ti p p e es; a n d ( 3) wit h o ut a c k n o wl e d gi n g t h e k e y f a ct t h at s e v er al of t h e all e g e d

ti p p e es’ tr a di n g a cti vit y is i n c o nsist e nt wit h all e g ati o ns of i nsi d er tr a di n g, i n cl u di n g t h at m ulti pl e

tr a d ers s ol d s h ar es of A us p e x at criti c al ti m es aft er t h e y all e g e dl y r e c ei v e d i nf or m ati o n fr o m Dr.

S ars h ar. T h e r e alit y is t h at Dr. S ars h ar n e v er tr a d e d o n i nsi d e i nf or m ati o n, n e v er ti p p e d i nsi d e

i nf or m ati o n t o a n y o n e, di d n ot r e c ei v e a n y m o n e y or ot h er b e n efits fr o m t h e all e g e d ti p p e es’

tr a di n g i n A us p e x, a n d i n t h e first q u art er of 2 0 1 5, w as n ot priv y t o m a n y of t h e tr a ns a cti o n

d et ails t h at t h e g o v er n m e nt s e e mi n gl y all e g e s h e pr o vi d e d t o fri e n ds a n d f a mil y.

           I n d e e d, b y 2 0 0 9, Dr. S ars h ar r eli n q uis h e d his m a n a g e m e nt r ol e at A us p e x t o f o c us o n

ot h er p urs uits, a n d fr o m t h at p oi nt f or w ar d, his o n l y i n v ol v e m e nt w as as a n i n v est or a n d m e m b er

of t h e c o m p a n y’s b o ar d. H e di d n ot m a n a g e or h a v e visi bilit y i nt o t h e c o m p a n y’s d a y-t o- d a y

aff airs a n d h e di d n ot t a k e p art i n A us p e x m a n a g e m e nt’s d e al n e g oti ati o ns t h at c ul mi n at e d wit h

T e v a’s t e n d er off er i n 1 Q 2 0 1 5. B e c a us e its c h ar g es ar e s o w e a k, t h e g o v er n m e nt att e m pts t o

cr e at e artifi ci al s u p p o rt f or its cl ai ms b y fr a mi n g a n d w or di ng t h e I n di ct m e nt i n a m a n n er t h at is

i m pr o p er a n d hi g hl y pr ej u di ci al t o Dr. S ars h ar.
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           First , t h e g o v er n m e nt att e m pts t o c h ar g e Dr. S ars h ar wit h a si n gl e s c h e m e t o c o m mit

s e c uriti es fr a u d a n d t e n d er off er fr a u d i n or d er t o o bf us c at e t h e h ol es i n t h e g o v er n m e nt’s c as e.

T his w as n ot a si n gl e, c o nti n u o us s c h e m e, as t h e g o v er n m e nt cl ai ms. T o t h e e xt e nt t h e M N PI

all e g e d i n t h e I n di ct m e nt is d e ci p h er a bl e, it a p p e ars t h at t h e g o v er n m e nt’s t h e or y is t h at Dr.

S ars h ar pr o vi d e d e a c h of t h e f o ur Ass o ci at es wi t h diff er e nt i nf or m atio n, o n diff er e nt d a ys, vi a

diff er e nt m e a ns. A n d t h er e is n o c o nsist e nt tr a d i n g p att er n eit h er, as s om e Ass o ci at es w er e n et

s ell ers aft er all e g e dl y r e c ei vi n g M N PI — a f a ct e ntir el y i n c o ns ist e nt wit h t h e g o v er n m e nt’s

c h ar g es.    M or e o v er, n o n e of t h e Ass o ci at es ar e all e g e d t o h a v e h a d a n y c o m m u ni c ati o n wit h t h e

ot h er Ass o ci at es d uri n g t h e r el e v a nt ti m e p e ri o d or a n y k n o wl e d g e of t h e ot h er Ass o ci at es’

tr a di n g a cti viti es. C o ntr ar y t o t h e g o v er n m e nt’s cl ai ms, t h er e is n o c o n n e cti v e tiss u e li n ki n g t h e

m ulti pl e s c h e m es. A n d b y i m pr o p erl y c h ar gi n g Dr. S ars h ar i n a si n gl e s c h e m e, t h e g o v er n m e nt

h as e x p os e d Dr. S ars h ar t o gr e at pr ej u di c e at tri al a n d b e y o n d.

           S e c o n d , t h e g o v er n m e nt’s all e g ati o ns i n t h e I n dict m e nt l a c k s uffi ci e nt s p e cifi cit y a n d a

bill of p arti c ul ars is r e q uir e d.     M ost criti c a ll y, t h e I n di ct m e nt d o es n ot i d e ntif y t h e i nsi d e

i nf or m ati o n t h at Dr. S ars h ar is all e g e d t o h a v e c o n v e y e d t o t h e Ass o ci at es , n or d o es it i d e ntif y

w hi c h r e m ot e tr a d es it all e g es Dr. S ars h ar s h o ul d b e h el d r es p o nsi bl e f or. Dr. S ars h ar c a n n ot

d ef e n d hi ms elf if h e d o es n ot k n o w w h at h e is b ei n g a c c us e d of. B y w a y of e x a m pl e, wit h o ut

k n o wi n g w h at i nf or m ati o n h e is all e g e d t o h a v e pr o vi d e d t o e a c h Ass o ci at e a n d w h e n h e is

all e g e d t o h a v e r e c ei v e d or pr o vi d e d it, Dr. S ars h ar c a n n ot d ef e n d hi ms elf b y s h o wi n g t h at t h e

i nf or m ati o n w as i n f a ct p u bli c or n o n- m at eri al at t h at ti m e. It is n o a ns w er f or t h e g o v er n m e nt t o

t ell t h e d ef e ns e t o fi n d it i n dis c o v er y — a v erit a bl e n e e dl e i n a h ayst a c k — b ot h b e c a us e Dr.

S ars h ar’s l e g al t e a m h as s e ar c h e d a n d c o ul d n ot fi n d it, a n d b e c a us e t h e dis c o v er y t h e

g o v er n m e nt pr o d u c e d h er e is c o m pris e d of m o r e t h a n 7 0 0, 0 0 0 d o c u m e nts, u ni n d e x e d a n d oft e n




                                                                        2
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c o m mi n gl e d wit h ot h er, u nr el at e d d o c u m e nts. T h e g o v er n m e nt m ust pr o d u c e a bill of p arti c ul ars

t o all o w Dr. S ars h ar t o d ef e n d hi ms elf i n t his a cti o n.

           Fi n all y , t h e I n di ct m e nt is litt er e d wit h v a g u e an d pr ej u di ci al s ur pl us a g e t h at m ust b e

str u c k. T hr o u g h o ut t h e I n di ct m e nt, t h e g o v er n m e nt r e p e at e dl y us es e q ui v o c al, br o a d e ni n g

l a n g u a g e s u c h as “ a m o n g ot h er t hi n gs ” a n d “i n cl u din g ” t o d es cri b e its all e g ati o ns a g ai nst Dr.

S ars h ar —l a n g u a g e t h at cr e at es a m o vi n g t ar g et of all e g ati o ns t h at Dr. S ars h ar c a n n ot d ef e n d

a g ai nst. T h e I n di ct m e nt als o pr ej u di c es Dr. S a rs h ar b y r e p e at e dl y, a n d i nc orr e ctl y, st ati n g t h at

h e li e d t o FI N R A. As t h e g o v er n m e nt w ell k n o ws , Dr. S ars h ar’s st at e m e nts t h at h e “ c o ul d n ot

r e c all ” i nt er a cti n g wit h a n y of t h e Ass o ci at es d uri n g t h e d esi g n at e d ti m e p eri o d w er e m a d e

wit hi n 9 0 mi n ut es of r e c ei vi n g FI N R A’s r e q u est, wit h o ut h a vi n g a n o p p ort u nit y t o c o ns ult wit h

c o u ns el, a n d w hil e o n v a c ati o n wit h li mit e d i nt er n et a c c ess. Dr. S ars h ar’s r es p o ns e w as pr o m pt,

f ort hri g ht, a n d a c c ur at e t o t h e b est of his a bilit y — a f ar cr y fr o m t h e i n cri mi n ati n g “li e ” t h e

g o v er n m e nt all e g es. T h e g o v er n m e nt’s misst at e m e nts a n d i m pr o p erl y br o a d a c c us ati o ns s h o ul d

b e stri c k e n fr o m t h e I n di ct m e nt.

           F or t h e r e as o ns st at e d i n Dr. S ars h ar’s o p e ni n g m oti o n, a n d f or t h e a d diti o n al r e as o ns

st at e d h er ei n, t h e C o urt s h o ul d: (i) dis miss t h e I n di ct m e nt b e c a us e it is d u pli cit o us or, at a

mi ni m u m, r e q uir e t h at a s p e ci al v er di ct f or m b e         us e d; (ii) c o m p el t h e pr o d u cti o n of a bill of

p arti c ul ars; a n d (iii) stri k e pr ej u di ci al s ur pl us a g e fr o m t h e I n di ct m e nt u n d er R ul e 7( d) of t h e

F e d er al R ul es of Cri mi n al Pr o c e d ur e. B e c a us e of t h e i m p ort a n c e of t h es e iss u es, Dr. S ars h ar

r es p e ctf ull y r eit er at es his r e q u est f or or al ar g u m e nt.

I.         A R G U ME NT

           A.         C o u nts I a n d II of t h e I n di ct m e nt A r e D u pli cit o us a n d S h o ul d B e Dis miss e d.

           I n its o p p ositi o n bri ef, t h e g o v er n m e nt c o n c e d es t h at it c o ul d h a v e c har g e d Dr. S ars h ar i n

s e p ar at e c o u nts b as e d o n t h e tr a di n g i n A us p e x st o c k b y his fri e n ds a n d f a mil y m e m b ers b ut


                                                                        3
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c h os e n ot t o. O p p. at 9 ( “r e g ar d l ess of w h et h er t h e G o v er n m e nt c o ul d br e a k d o w n t h e a cti vit y

i nt o disti n ct cri m es ”). T h e g o v er n m e nt d ef e n ds its d e cisi o n b y r e p e at e dl y ass erti n g t h at Dr.

S ar h ar’s a cts w er e p art of a si n gl e c o nti n ui n g s c h e m e. H o w e v er, t h e g o v er n m e nt’s d efi niti o n of

t h e all e g e d s c h e m e is s u p erfi ci al a n d o v er br oa d a n d at o d ds wit h t h e all e g ati o ns i n t h e

I n di ct m e nt. I n f a ct, t h e g o v er n m e nt’s d e cisi o n t o c h ar g e si n gl e c o u nts of s e c uriti es fr a u d a n d

t e n d er off er fr a u d ar e d esi g n e d t o c o n c e al g a pi n g h ol es i n t h e e vi d e n c e w h er e e a c h i n di vi d u al

Ass o ci at e is c o n c er n e d. Si g ni fi c a ntl y, t h e g o v er n m e nt’s i m pr o p er c h ar gi n g d e cisi o n e x p os es Dr.

S ars h ar t o e xtr e m e pr ej u di c e, i n cl u di n g n ot hi n g l ess t h a n a n u nj ust c o n vi cti o n. I n t h es e

cir c u mst a n c es, t h e g o v er ni n g c as e l a w r e q uir es t h at t h e I n di ct m e nt b e dis miss e d as d u pli cit o us

or, at a mi ni m u m, t h at a s p e ci al v er di ct f or m br e a ki n g o ut e a c h i n di vi d u al all e g e d s c h e m e b e

r e q uir e d.

                 T h e g o v er n m e nt c o nt e n ds t h at t h e I n di ct m ent i n v ol v es o nl y a si n gl e cri mi n al s c h e m e

b e c a us e it i n v ol v e d “ a si n gl e vi cti m, ” br e a c h of “ a si n gl e d ut y, t h e pr o visi o n of M N PI a b o ut a

si n gl e t o pi c, ” a n d b e n efits t o “ a si n gl e gr o u p of p e o pl e, his fri e n ds a n d f a mil y. ” O p p. at 9. T his

is a f a cil e a n d o v er br o a d c h ara ct eri z ati o n of t h e c h ar g es. A n y r e as o n a bl e r e a di n g of t h e

I n di ct m e nt s h o ws t h at t h e g o v er n m e nt all e g es f o ur s e p ar at e s c h e m es, c e nt er e d ar o u n d f o ur

s e p ar at e i n di vi d u als, n o n e of w h o m are all e g e d t o h a v e i nt er a ct e d, a n d all of w h o m ar e all e g e d

(t o t h e e xt e nt t h e I n di ct m e nt c a n b e d e ci p h er e d) t o h a v e r e c ei v e d diff er e nt pi e c es of M N PI, at

diff er e nt ti m es, vi a diff er e nt m et h o ds.

           I n d e e d, n ot hi n g ti es t o g et h er t he f o ur tr a di n g s c h e m es d es cri b e d i n t h e I n di ct m e nt e x c e pt

t h at Dr. S ars h ar is t h e all e g e d ti p p er a n d t h at t h e all e g e d M N PI br o a dl y r el at es t o a p ot e nti al

tr a ns a cti o n i n v ol vi n g A us p e x. S e e       M ot. at 1 2- 2 2. T h at is cle ar fr o m t h e str u ct ur e of t h e

I n di ct m e nt, w hi c h is n e atl y di vi d e d i nt o disti nct s ets of a cts a n d a ct ors c o m prisi n g t h e f o ur




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all e g e d s c h e m es. S e e U nit e d St at es v. M u n oz- Fr a n c o , 9 8 6 F. S u p p. 7 0, 7 1 ( D. P. R. 1 9 9 7)

( dis missi n g t w o c o u nts of i n di ct m e nt as d u pli cit o us w h er e c h ar g es w er e “ n e atl y di vi d e d ” i nt o

“ disti n ct s ets ” of a ct ors a n d a cti o ns). E a c h of t h e disti n ctl y o utli n e d s c h e m es i n v ol v es diff er e nt

i n di vi d u als, n o n e of w h o m is all e g e d t o h a v e c o m m u ni c at e d wit h t h e i n di vi d u als i n t h e ot h er

r ef er e n c e d s c h e m es d uri n g t h e r el e v a nt p eri o d. T h us, e a c h s c h e m e i n v ol v es dis p ar at e a ct ors,

o p er ati n g i n d e p e n d e ntl y of e a c h ot h er, at diff er e nt m o m e nts i n ti m e. I d. at 7 1- 7 2 ( dis missi n g

c o u nts as d u pli cit o us w h er e “[t] h e p arti ci p a nts i n t h e [s c h e m es] ar e diff er e nt, ” t h e tr a ns a cti o ns of

o n e “s c h e m e ar e t ot all y u n c o n n e ct e d ” t o t h e tr a ns a cti o ns of t h e ot h er s c h e m e, a n d w h er e t h er e

h as b e e n n o “ cr ossi n g of li n es of a p arti ci p a nt fr o m o n e [s c h e m e] t o t h e ot h er ”). I n a d diti o n,

e a c h of t h e Ass o ci at es is all e g e d t o h a v e r e c ei v e d diff er e nt ti ps, o n diff er e nt d at es a n d ti m es, a n d

t o h a v e e n g a g e d i n i n di vi d u al, n o n- c o or di n at e d tr a di n g. E a c h of t h e s c h e m es is als o all e g e d t o

i n v ol v e at l e ast o n e u ni q u e ti p t h at w as pr o vi d ed o n a diff er e nt d a y a n d r el at e d t o a diff er e nt

e v e nt t h a n a n y of t h e ti ps all e g e dl y pr o vi d e d t o t h e tr a d ers i n t h e ot h er s c h e m es. F or e x a m pl e:

           ( 1) S c h e m e 1 (i n v ol vi n g Ass o ci at e- 1 a n d t h e C W) (In di ct. ¶ ¶ 1 4- 2 9). T his is t h e o nl y
                all e g e d s c h e m e w h er e t h e g o v er n m e nt al l e g es t h at Dr. S ars h ar c o n v e y e d M N PI
                f oll o wi n g a M ar c h 1 7 b o ar d m e eti n g
                                        N o ot h er Ass o ci at e is all e g e d t o h a v e r e c ei v e d i nf or m ati o n a b o ut t h at
                M ar c h 1 7 b o ar d m e eti n g or                        o n t h at d a y or a n y s u bs e q u e nt d a y.

           ( 2) S c h e m e 2 (i n v ol vi n g Ass o ci at e- 2 a n d h er c o- w or k er) (I n di ct. ¶ ¶ 3 0- 4 1). T h e
                g o v er n m e nt s e e ms t o all e g e t h at Dr. S ars h ar c o n v e y e d i nf or m ati o n t o Ass o ci at e- 2 t h at
                Dr. S ars h ar o bt ai n e d fr o m s e p ar at e F e br u ar y 2 5, 2 0 1 5 a n d M ar c h 2 5, 2 0 1 5 c alls wit h
                t h e A us p e x C E O. I n di ct. ¶ ¶ 3 4, 3 9. N o ot h er Ass o ci at e is all e g e d t o h a v e r e c ei v e d
                i nf or m ati o n a b o ut eit h er of t h es e c alls or t o h a v e e v e n t al k e d wit h Dr. S ars h ar i n t h e
                d a ys s urr o u n di n g eit h er c all. 1

           ( 3) S c h e m e 3 (i n v ol vi n g Ass o ci at e- 3) (I n di ct. ¶ ¶ 4 2- 4 3). W hil e e xtr e m el y v a g u e, t h e
                g o v er n m e nt’s all e g ati o n a p p e ars t o b e t h at Ass o ci at e- 3 w as ti p p e d a b o ut a


  1
       T h e M ar c h 2 5, 2 0 1 5 c all is r ef er e n c e d i n t h e all e g ati o ns a g ai nst Ass o ci at e- 4, b ut t h er e is n o
      all e g ati o n t h at Dr. S ars h ar c o m m u ni c at e d wit h Ass o ci at e- 4 at a n y p oi nt b et w e e n t h e c all a n d
      t h e a n n o u n c e m e nt of t h e t e n d er off er. I n di ct. ¶ ¶ 4 9- 5 0.


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                c o nfi d e nti alit y a gr e e m e nt b e t w e e n A us p e x a n d a c o m p a n y ot h er t h a n T e v a. I n di ct.
                ¶ 4 2. N o n e of t h e ot h er s c h e m es c o n c er n t h at c o nfi d e nti alit y a gr e e m e nt.

           ( 4) S c h e m e 4 (i n v ol vi n g Ass o ci at e- 4 a n d his d o m esti c p art n er) (I n di ct. ¶ ¶ 4 4- 5 0). T h e
                I n di ct m e nt all e g es t h at Dr. S ars h ar s p o k e wit h Ass o ci at e- 4 o n F e br u ar y 1 0 aft er
                m e eti n gs b et w e e n T e v a a n d A us p e x i n Isr a el, I n di ct. ¶ ¶ 4 5, 4 8, b ut t h er e is n o si mil ar
                all e g ati o n of ti ps i n v ol vi n g t h e F e br u ar y m e e ti n g i n Isr a el i n a n y of t h e ot h er all e g e d
                s c h e m es. 2

           H o pi n g t o s a v e its I n di ct m e nt, t h e g o v er n m e nt dist orts t h e l a w a n d Dr. S ars h ar’s

ar g u m e nts. F or e x a m pl e, t h e g o v er n m e nt d e v ot es m ulti pl e p a g es t o a dis c ussi o n of U nit e d St at es

v. K e ar n e y , 4 5 1 F. S u p p. 3 3 ( S. D. N. Y. 1 9 7 8). S e e O p p. at 1 0- 1 2.            W hil e t h e g o v er n m e nt is

c orr e ct t h at t h e o bstr u cti o n of c orr es p o n d e n c e st at ut e c h ar g e d i n K e ar n e y d o es n ot c o n c er n a

s c h e m e, b ut r at h er pr o hi bit e d i n di vi d u al tr a ns a cti o ns, t h at is a di sti n cti o n wit h o ut a diff er e n c e i n

t his c as e. C ert ai nl y, t h e f a ct t h at a st at ut e c h ar g es a s c h em e c a n n ot gi v e t h e g o v er n m e nt c art e

bl a n c h e t o c at e g ori z e f o ur s e p ar at e s c h e m es as o n e. I n d e e d, b y t h e g o v er n m e nt’s l o gi c, it c o ul d

us e a si n gl e s c h e m e st at ut e t o c h ar g e m ulti pl e s c h e m es as a si n gl e s c h e m e s o l o n g as a si n gl e

d ef e n d a nt s er v e d as t h e h u b of t h e s c h e m e. 3   C o urts h a v e r ej e ct e d s u c h a misr e a di n g of t h e

d u pli cit y d o ctri n e. U nit e d St at es v. Hi nt o n , 1 2 7 F. S u p p. 2 d 5 4 8, 5 5 6 ( D. N.J. 2 0 0 0) (fi n di n g


  2
        As t h e g o v er n m e nt is a w ar e, Dr. S ars h ar di d n ot att e n d t h e F e br u ar y me eti n gs i n Isr a el a n d
      t h er e is n o all e g ati o n t h at h e r e c ei v e d a n y i nf or m ati o n a b o ut t h e m e eti n g b ef or e h e c all e d
      Ass o ci at e- 4 o n F e br u a r y 1 0. I n di ct. ¶ 4 5.
  3
       T h e g o v er n m e nt cit es U nit e d St at es v. M ol o n e y , 2 8 7 F. 3 d 2 3 6 ( 2 d Cir. 2 0 0 2), m ulti pl e ti m es
      t o s u p p ort its p ositi o n t h at m ulti pl e tr a ns a cti o ns c a n b e a g gr e gat e d i nt o a si n gl e s c h e m e.
      O p p. at 8, 1 2. H o w e v er, M ol o n e y di d n ot c o n c er n w h et h er a n i n di ct m e nt w as d u pli cit o us
      b e c a us e t h at iss u e w as w ai v e d, l e a vi n g t h e c o ur t t o r ul e o n a n e ntir el y diff er e nt iss u e:
      w h et h er a “ n o n- off e ns e ” w as c h ar g e d. I d. at 2 3 9. ( “ A g uilt y pl e a w ai v es a n y c h all e n g es t o a
      d u pli cit o us i n di ct m e nt … H o w e v er, M ol o n e y’s cl ai m t h at t h e i n di ct m e nt c h ar g es a n o n-
      off e ns e is n ot w ai v e d ”). T h e M ol o n e y c o urt o nl y n ot es t h e bro a d pr o p ositi o n cit e d b y t h e
      g o v er n m e nt as p art of its a n al ysis of w h et h er t h e f e d er al m o n e y l a u n d erin g st at ut e a p pli es t o
      s c h e m es or i n di vi d u al tr a ns a cti o ns, a n iss u e t h at h as n o r el e v a n c e h er e. I d. at 2 4 1 ( “ C o n gr ess
      c o ul d, of c o urs e, p ass a cri mi n al l a w t h at c o ul d n ot b e a p pli e d t o a u nifi e d s c h e m e. T h e
      q u esti o n is w h et h er t h e m o n e y l a u n d eri n g st at ut e s h o ul d b e i nt er pr et e d as s u c h a l a w. ”).
      M or e o v er, u nli k e M ol o n e y , t his m att er i n v ol v es m ulti pl e all e g e d tr a ns a cti o ns a n d m ulti pl e
      all e g e d s c h e m es.


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i n di ct m e nt c h ar gi n g d ef e n d a nt wit h a si n gl e s c h e m e t o d efr a u d m ulti pl e, u nr el at e d b a n ks

d u pli cit o us); U nit e d St at es v. M u n oz- Fr a n c o , 9 8 6 F. S u p p. 7 0, 7 1 ( D. P. R. 1 9 9 7) (fi n di n g c o u nts

d u pli cit o us w h er e t w o d ef e n d a nts p arti ci p at e d i n b ot h c o ns pir a c y s c h e m es, b ut w h er e t h e

tr a ns a cti o ns a n d p arti ci p a nts i n t h e s c h e m es w er e ot h er wis e “ u n c o n n e ct e d ”).

           T h e g o v er n m e nt’s cit e d a ut h oriti es ar e i n a p p osit e, as e a c h i n v ol v es dr a m ati c all y m or e

i ntri c at e a n d i nt ert wi n e d s c h e m es t h a n t h e i nsi d er tr a di n g s c h e m es c h ar g e d h er e. I n U nit e d

St at es v. W e y , f or e x a m pl e, t h e c o urt f o u n d a si n gl e co nti n u o us s c h e m e b as e d i n p art o n t h e

“ c o m m o n aliti es i n p ur p os e a n d e x e c uti o n ” us e d b y t h e d ef e n d a nt t o d efr a u d m ulti pl e fi n a n ci al

i nstit uti o ns. 2 0 1 7 W L 2 3 7 6 5 1, at * 4 ( S. D. N. Y. J a n. 1 8, 2 0 1 7) ( e m p h asis a d d e d). T h e c o m m o n

e x e c uti o n e m pl o y e d b y t h e d ef e n d a nt i n W e y i n v ol v e d, i n p art, arr an gi n g f or “ N o mi n e es t o

a c q uir e bl o c ks of st o c k i n o v e r-t h e- c o u nt er-tr a d e d U. S.- b as e d s hell c o m p a ni es, or c h estr ati n g

r e v ers e m er g ers b y w hi c h C hi n es e o p er ati n g c o m p a ni es a c q uir e d t h es e s h ell c o m p a ni es, a n d

f a cilit ati n g t h e s ur vi vi n g c o m p a ni es’ listi n g o n N A S D A Q t hr o u g h si mil arl y d e c e pti v e

cir c u m v e nti o n of s h ar e h ol d er- b as e r e q uir e m e nts. ” I d. at * 4. T h e d ef e n d a nt i n W e y       us e d t his

s a m e c o m pl e x p att er n, a ki n t o a m o d us o p er a n di , t o c o n d u ct e a c h of his t hr e e fr a u ds. If c o urts

c o nsi d er e d Dr. S ars h ar’s all e g e d m o d e of e x e c uti o n —s p or a di c p h o n e c alls a n d t e xt m ess a g es

wit h fri e n ds a n d f a mil y —t o b e s uffi ci e nt t o s atisf y t h e c o m m o n aliti es of e x e c uti o n i n W e y , t h er e

w o ul d b e virt u all y n o li mit t o t h e g o v er n m e nt’s a bili t y t o c h ar g e s e p ar at e i nsi d er tr a di n g s c h e m es

i n a si n gl e d u pli cit o us c o u nt.

           T h e g o v er n m e nt’s eff orts t o disti n g uis h t h e c as es cit e d b y Dr. S ars h a r i n his o p e ni n g bri ef

f all fl at. F or e x a m pl e, t h e “ diff er e nt gr o u ps of p e o pl e, diff er e nt c o r p or at e e ntiti es, a n d

u n c o n n e ct e d tr a ns a cti o ns ” t h at t h e g o v er n m e nt cl ai ms disti n g uis h M u n oz- Fr a n c o, 9 8 6 F. S u p p.

7 0 ( D. P. R. 1 9 9 7), ar e n o di sti n cti o n at all. C o ntr a         O p p. at 1 4. I n M u n oz- Fr a n c o , t h e c o urt




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c o n cl u d e d t h at t h e fr a u d i n di ct m e nt w as d u pli cit o us w h er e t h e c h ar g e d tr a ns a cti o ns i n t h e first

s c h e m es w er e “t ot all y u n c o n n e ct e d wit h t h e tr a n s a cti o ns ” i n t h e s e c o n d s c h e m e, i n p arti c ul ar

b e c a us e t h er e w as “ n ot o n e i nst a n c e of a n o v ert a c t w h er e t h er e h as b e e n a cr ossi n g of li n es of a

p arti ci p a nt ” a cr oss s c h e m es, a n d b e c a us e t h e “ p ar ti ci p a nts i n t h e c o ns pir a ci es ar e diff er e nt. ”

M u n oz- Fr a n c o , 9 8 6 F. S u p p. at 7 2. N ot a bl y, alt h o u g h t w o of t h e d ef e n d a nts t o o k p art i n b ot h

s c h e m es, t h at o v erl a p di d n ot s a v e t h e i n di ct m e nt.

           Si mil arl y, t h e g o v er n m e nt e m p h asi z es t h at t h e c o urt di d n ot ulti m at el y dis miss t h e

i n di ct m e nt i n U nit e d St at es v. G a bri el , 9 2 0 F. S u p p. 4 9 8 ( S. D. N. Y. 1 9 9 6), b ut i g n or es t h e

r e as o ns w h y. C o ntr a      O p p. at 1 4. T h er e, t h e c o urt f o u n d t h at “ o n a n y b ut a s u p erfi ci al r e a di n g ”

t h e i n di ct m e nt all e g e d m ulti pl e disti n ct a n d s e p ar at e c o ns pir a ci es a n d t h at “if it w er e wit hi n t h e

p o w er of t h e C o urt t o d o, t his C o urt w o ul d dis miss ” b as e d o n d u pli cit y. I d. at 5 0 4 ( e m p h asis

a d d e d). T h e c o urt di d n ot d o s o b e c a us e d et er mi ni n g w h et h er m ulti pl e c o ns pir a ci es e xist is a j o b

t h at j uri es ar e “si n g ul arl y w ell s uit e d ” t o p erf or m. I d. (i nt er n al q u ot ati o ns o mitt e d). B ut h er e,

t h er e is n o m ulti pl e- c o ns pir a ci es d ef e ns e f or Dr. S ars h ar t o ass ert, a n d h e m ust t h er ef or e l o o k t o

t his C o urt t o a d dr ess t h e d u pli cito us c h ar g es i n t h e I n di ct m e nt.

           B y c h ar gi n g t h es e dis p ar at e s c h e m es i n a si n gl e d u pli cit o us co u nt, t h e g o v er n m e nt

e x p os es Dr. S ars h ar t o s e v er e pr ej u di c e. S e e U nit e d St at es v. M ar gi ott a , 6 4 6 F. 2 d 7 2 9, 7 3 3 ( 2 d

Cir. 1 9 8 1) ( n oti n g t h e b ar o n d u pli cit o us i n di ct m e nts is m e a nt t o “ a v oi d[] t h e u n c ert ai nt y of

w h et h er a g e n er al v er di ct of g uilt y c o n c e als a fi n di n g of g uilt y as t o o n e cri m e a n d a fi n di n g of

n ot g uilt y as t o a n ot h er, a v oi d[] t h e ris k t h at t h e j ur ors m a y n ot h a v e b e e n u n a ni m o us as t o a n y

o n e of t h e cri m es c h ar g e d, ass ur[ e] t h e d ef e n d a nt a d e q u at e n oti c e, pr o vi d[ e] t h e b asis f or

a p pr o pri at e s e nt e n ci n g, a n d pr ot e ct[] a g ai nst d o u bl e j e o p ar d y i n a s u bs e q u e nt pr os e c uti o n ”).

A n y c o n vi cti o n of Dr. S ars h ar w o ul d n ot i d e ntif y w h et h er t h e c o n vi cti o n is b as e d o n a si n gl e




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tr a d e or m ulti pl e tr a d es, o n e or m or e tr a d ers, or o n e or m or e pi e c es of M N PI. S e e U nit e d St at es

v. Hi nt o n , 1 2 7 F. S u p p. 2 d 5 4 8, 5 5 6 ( D. N.J. 2 0 0 0) (fi n din g i n di ct m e nt d u pli cit o us w h er e “[i] n

t h e e v e nt of a c o n vi cti o n, it w o ul d n ot b e p ossi bl e t o d et er mi n e w hi c h as p e cts of t his s o c all e d

u nifi e d s c h e m e h a d b e e n pr o v e d ”). B e c a us e Dr . S ars h ar h as dis cr et e a n d u ni q u e f a ct u al a n d

l e g al d ef e ns es t o e a c h all e g e d ti p a n d t h e tr a di n g of e a c h all e g e d Ass o ci at e, it is criti c al t h at Dr.

S ars h ar b e a bl e t o d ef e n d a g ai nst e a c h s c h e m e s e p ar at el y. F or e x a m pl e, t h e e vi d e n c e will s h o w




              T h es e d ef e ns es, a n d m a n y ot h ers, will b e at ris k of g etti n g l ost i n t h e s e a of all e g ati o ns

c o nt ai n e d i n C o u nts 1 a n d 2 of t h e I n di ct m e nt. T h e j ur ors will h a v e t h e i m p ossi bl e t as k of tr yi n g

t o pi e c e t o g et h er w h er e a n d w h e n Dr. S ars h ar l e ar n e d of M N PI t hat h e all e g e dl y p ass e d o n t o a

p arti c ul ar Ass o ci at e a n d t h at t h e Ass o ci at e r eli e d o n i n c o m pl eti n g a p arti c ul ar tr a d e. I n d e e d, t h e

d u pli cit o us I n di ct m e nt p os es a s u bs t a nti al ris k t h at Dr. S ars h ar w o ul d f a c e a n o n- u n a ni m o us j ur y

v er di ct, w h er ei n diff er e nt j ur ors fi n d Dr. S ars h a r g uilt y b as e d o n diff er e nt s c h e m es a n d diff er e nt

e v e nts. S e e R a m os v. L o uisi a n a , 1 4 0 S. Ct. 1 3 9 0, 1 3 9 5 ( 2 0 2 0) (r e q uiri n g u n a ni m o us j ur y

v er di cts i n cri mi n al c as es).




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           T h e g o v er n m e nt tri es t o d ef e n d its c h ar gi n g d e cisi o n b y m a ki n g t h e disi n g e n u o us cl ai m

t h at c h ar gi n g a si n gl e s c h e m e “in ur e[s] t o t h e d ef e n d a nt’s b e n ef it. ” O p p. at 1 5. As a n i niti al

m att er, t his ar g u m e nt d o es n ot p ass t h e str ai g ht-f a c e t est as n o o n e is u n d er t h e ill usi o n t h at t h e

g o v er n m e nt is l o o ki n g o ut f or Dr. S ars h ar’s b est i nt er est.         M or e o v er, t h e g o v er n m e nt’s ar g u m e nt

is wr o n g b ot h i n pr a cti c e a n d as a m att er of l a w. T h e st at ut or y m a xi m u ms f or i nsi d er tr a di n g

(e. g. , 2 0 or 2 5 y e ars) r ar el y g ui d e a c o urt’s s e nt e n ci n g d e cisi o n, a n d gi v e n t h at t h e S e nt e n ci n g

G ui d eli n es r e q uir e a gr o u pi n g a n al ysis u n d er U. S. S. G. § 3 D 1. 2, t h er e is n o ris k t h at m ulti pl e

c o u nts w o ul d e n h a n c e a n y i nsi d er tr a di n g s e nt e n c e. T h us, a n a c q uitt al o n a n y of t h e f o ur all e g e d

s c h e m es c o ul d si g nifi c a ntl y alt er Dr. S ars h ar’s s e nt e n ci n g r a n g e.   4
                                                                                                     T h e f a ct of t h e m att er is t h at a

d u pli cit o us i n di ct m e nt d o es n ot b e n efit Dr. S ars h ar b ut i nst e a d s e v er e l y pr ej u di c es hi m.

           T h e g o v er n m e nt cl ai ms t h at d es pit e t h e c o n c er ns r ais e d b y Dr. S ars h ar, a n y p ot e nti al

pr ej u di c e c a us e d b y t h e I n di ct m e nt c a n e asil y b e c ur e d b y a p pr o pri at e j ur y i nstr u cti o ns. T h e

g o v er n m e nt’s t e pi d s u p p ort f or p ot e nti al, u ns p e cifi e d, f ut ur e j ur y i nstr u cti o ns off ers Dr. S ars h ar

c ol d c o mf ort w h e n l eft u n p air e d wit h a n y d e t ail or s p e cifi cit y a b o ut w h at t h es e s u p p os e dl y

c ur ati v e j ur y i nstr u cti o ns w o ul d s a y. If t h e g o v er n m e nt w er e s eri o us a b o ut pr e v e nti n g pr ej u di c e

t o Dr. S ars h ar, it w o ul d at a mi ni m u m a gr e e t o a s p e ci al v er di ct f or m t o e ns ur e Dr. S ars h ar is n ot

s u bj e ct t o t h e lit a n y of li k el y pr ej u di c es t o w hi c h t h e c urre nt I n di ct m e nt e x p os es hi m.

           It f oll o ws t h at t h e C o urt s h o ul d dis miss t he I n di ct m e nt as d u pli cit o us f or t h e r e as o ns

arti c ul at e d i n Dr. S ars h a r’s J ul y 1, 2 0 2 1 M oti o n, s e e M ot. at 1 8- 2 2, a n d t h e r eas o ns st at e d h er ei n.


  4
       T h e g o v er n m e nt’s r eli a n c e o n U nit e d St at es v. Ol m e d a , 4 6 1 F. 3 d 2 7 1 ( 2 d Cir. 2 0 0 6), is
      mis pl a c e d. T h e Ol m e d a c o urt di d n ot st at e t h at d u pli cit o us i n di ct m e nts b e n efit t h e d ef e n d a nt
      a cr oss t h e b o ar d, as t h e g o v er n m e nt s u g g ests. I nst e a d, t h e c o urt m ad e t h e li mit e d c o m m e nt
      t h at i n c ert ai n cir c u mst a n c es d u pli cit y “ m a y ” b e n efit a d ef e n d a nt. I d. at 2 8 1. As dis c uss e d,
      t his is n ot o n e of t h os e li mit e d cir cu mst a n c es. F urt h er m or e, t h e c o urt i n Ol m e d a f o u n d t h at
      t h e i n di ct m e nt i n t h at c as e w as d u pli cit o us (t h o u g h n ot pr ej u di ci all y s o) a n d ulti m at el y
      dis miss e d t h e i n di ct m e nt o n d o u bl e-j e o p ar d y gr o u n ds.


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At a mi ni m u m, t h e C o urt s h o ul d e ns ur e t h e pr ej u di c e f a c e d b y Dr. S ars h ar is m a n a g e d t hr o u g h

t h e iss u a n c e of a s p e ci al v er di ct f or m t h at r e q uir es t h e j ur y t o co nsi d er e a c h of t h e f o ur s c h e m es

c h ar g e d i n t h e i n di ct m e nt, a n d a n y all e g e d d o w ns tr e a m ti p pi n g, s e p ar at el y, a n d r e q uir es t h e j ur y

t o r e a c h a u n a ni m o us v er di ct as t o e a c h s e p ar at e s c h e m e.

           B.         T h e C o u rt S h o ul d O r d e r t h e G o v e r n m e nt t o P r o d u c e a Bill of P a rti c ul a rs.

           T his C o urt s h o ul d or d er t h e g o v er n m e nt t o pr o d u c e a bill of p arti c ul ars i d e ntif yi n g ( 1) t h e

M N PI t h at Dr. S ars h ar all e g e dl y c o m m u ni c at e d t o e a c h of t h e f o ur Ass o ci at es i d e ntifi e d i n t h e

I n di ct m e nt; ( 2) w h e n a n d h o w Dr. S ars h ar all eg e dl y b e c a m e a w ar e of t h e M N PI; ( 3) w h e n a n d

h o w Dr. S ars h ar all e g e dl y c o m m u ni c at e d t h e M N PI t o a n y ti p p e e; a n d ( 4) t h e tr a d es all e g e dl y

b as e d o n M N PI t h e g o v er n m e nt pl a ns t o us e t o c o n vi ct Dr. S ars h ar. T his i nf or m ati o n is

n e c ess ar y t o “ e n a bl[ e] [ Dr. S ars h ar] t o pr e p ar e f o r tri al, t o pr e v e nt s ur pris e, a n d t o i nt er p os e a

pl e a of d o u bl e j e o p ar d y s h o ul d h e b e pr os e c ut e d a s e c o n d ti m e f or t h e s a m e off e ns e. ” U nit e d

St at es v. B ort n o vs k y , 8 2 0 F. 2 d 5 7 2, 5 7 4 ( 2 d Cir. 1 9 8 7) ( citin g F e d. R. Cri m. P. 7(f)). A n d

or d eri n g a bill of p arti c ul ars i n t h es e cir c u mst a n c es w o ul d a d v a n c e t h e A d vis or y C o m mitt e e o n

R ul es’ i nt e nt t o “ e n c o ur a g e a m or e li b er al attit u d e b y t h e c o urts t o w ar d bills of p arti c ul ar[.] ”

F e d. R. Cri m. P. 7 a d vis or y c o m m itt e e’s n ot e t o 1 9 6 6 a m e n d m e nt.

           C o urts i n t his distri ct h a v e a c k n o wl e d g e d t h at s u c h i nf or m ati o n is criti c al t o pr es e nti n g a

d ef e ns e i n i nsi d er tr a di n g c as es . I n t h e w or ds of J u d g e G ar de p h e, “ p arti c ul ar i z ati o n m a y b e

n e c ess ar y w h er e a d ef e n d a nt h as b e e n c h ar g e d wit h a n i nsi d er tr a di n g c o ns pir a c y, b e c a us e ‘[t] h e

m erits of s u c h a c h ar g e d e p e n d h e a vil y o n f a cts a n d c o nt e xt.’ ” U nit e d St at es v. M art o m a , 2 0 1 3

W L 2 4 3 5 0 8 2, at * 3 ( S. D. N. Y. J u n e 5, 2 0 1 3). I n a lit a n y of hi g h- pr ofil e i nsi d er tr a di n g c as es,

c o urts h a v e or d er e d t h e g o v er n m e nt t o dis cl os e d et ails i n a bill of p arti c ul ars s u bst a nti all y si mil ar

t o t h e i nf or m ati o n Dr. S ars h ar s e e ks h er e. S e e, e. g. , U nit e d St at es v. R aj ar at n a m, 2 0 1 0 W L

2 7 8 8 1 6 8, at * 4 – 9 ( S. D. N. Y. J ul y 1 3, 2 0 1 0) ( or d eri n g di s cl os ur e of, a m o n g ot h er t hi n gs, “t h e


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s u bst a n c e of t h e i nf or m ati o n pr o vi d e d ” a n d “t h e d at e(s) o n w hi c h it w as c o n v e y e d ”); U nit e d

St at es v. C o nt ori nis , N o. 0 9- cr- 1 0 8 3- RJ S ( S. D. N. Y.), D kt. 4 9 at 1 ( or d eri n g dis cl os ur e of t h e

M N PI all e g e dl y dis cl os e d b y t h e d ef e n d a nt); U nit e d St at es v. N a c c hi o , 2 0 0 6 W L 2 4 7 5 2 8 2, at * 6

( D. C ol o. A u g. 2 5, 2 0 0 6) ( or d eri n g t h e g o v er n m e nt t o i d e ntif y all M N PI t h at it all e g e d d ef e n d a nt

w as a w ar e of d uri n g t h e r e l e v a nt ti m e p eri o d).

          T h e g o v er n m e nt att e m pts t o disti n g uis h t h es e c as es o n t h e gr o u n d t h e y w er e “f ar m or e

c o m pl e x ” t h a n t his c as e. O p p. at 2 3 – 2 4; s e e als o O p p. at 2 5 n. 5. H o w e v er, t h e or d ers i n

C o nt ori nis a n d N a c c hi o m a k e n o m e nti o n of t h os e c as es’ all e g e d c o m pl e xit y, a n d i n f a ct, t h e

g o v er n m e nt e x pr essl y dis cl ai m e d a n y s u g g esti o n of c o m pl e xit y i n C o nt ori nis , N o. 0 9- cr- 1 0 8 3-

RJ S ( S. D. N. Y.), D kt. 4 6 at 1 1 ( “[ C] o ntr ar y t o C o nt ori nis’ cl ai ms, t h e c h ar g es a g ai nst hi m d o n ot

r el at e t o ‘ n u m er o us st o c ks tr a d e d h u n dr e ds of tim es o v er t h e c o urs e of m or e t h a n t w o y e ars.’

R at h er, wit h r es p e ct t o tr a d es b as e d o n U B S I nsi d e I nf or m ati o n, C o nt ori nis n e e d f o c us o nl y o n

t w o r el ati v el y s h ort ti m e p eri o ds —tr a di n g i n Alb erts o n’s s e c uriti es b e t w e e n S e pt e m b er 2 0 0 5 a n d

J a n u ar y 2 0 0 6, a n d tr a di n g i n B M H C s e c uriti es i n A pril a n d M a y 2 0 0 6. ”).        W hil e it is tr u e t h at

t h e c o urt i n R aj ar at n a m n ot e d t h at “i n c o m pl e x c o ns pir a c y c as es li k e t his o n e, t h e p ot e nti al f or

u nf air s ur pris e a n d t h e diffi c ult y of pr e p ari n g a d ef e ns e ar e a m plifi e d , ” it a c k n o wl e d g e d t h at

t h es e ar e pr o bl e ms t h at i n h er e i n all i nsi d er tr a di n g c as es. 2 0 10 W L 2 7 8 8 1 6 8, at * 2 ( e m p h asis

a d d e d) ( “ A d ef e n d a nt mi g ht ar g u e t h at t h e i nf or m ati o n h e s o u g ht t o o bt ai n w as n ot m at eri al, or

t h at it w as alr e a d y p u bli c at t h e ti me h e tri e d t o g et it. B ut h e c a n o nl y d o t h at if h e k n o ws w h at

t h e i nf or m ati o n is a n d w h e n it w as c o n v e y e d. ”). A n d gi v e n t h e g o v er n m e nt’s h e a v y r eli a n c e o n

wir et a p c alls t h at i d e ntifi e d t h e s p e cifi c M N PI all e g e dl y tr a d e d o n, as w ell as t h e d at e a n d ti m e of

t h e c alls, t h e all e g e d c o m pl e xit y i n R aj ar at n a m w as miti g at e d b y d et ail e d dis cl os ur es t h at f ar

s ur p ass e d w h at t h e g o v er n m e nt h as pr o vi d e d h er e. S e e i d. at * 9 ( “[ T] h e g o v er n m e nt is n ot




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r e q uir e d t o pr o vi d e p arti c ul ars f or a st o c k w h er e t he i nsi d e i nf or m ati o n is b as e d s ol el y o n wir et a p

i nt er c e pts ” b e c a us e “[t] h e d ef e n d a nts n o w h a v e all of t h es e i nt er c e pts, al o n g wit h d es cri pti o ns of

t h e r el e v a nt c o n v ers ati o ns ”). T h us, t h e c o urt i n R aj ar at n a m a c k n o wl e d g e d t h at c o m pl e xit y w as

n ot a n e c ess ar y c o n diti o n f or a bill of p arti c ul ars. I d. at * 2 ( “ At iss u e i n t his c as e ar e 3 1 st o c ks,

m a n y m or e t h a n t h e si n gl e st o c k at iss u e i n N a c c hi o or t h e f o ur st o c ks at iss u e i n C o nt ori nis , ” i n

w hi c h c o urts si mil arl y gr a nt e d bills of p arti c ul ars).

          T h e g o v er n m e nt n o n et h el ess ar g u es t h at t h e I n di ct m e nt c o nt ai ns “s uffi ci e nt f a ct u al

d et ail ” a n d t h at a n y d efi ci e n ci es ar e c ur e d b y t h e “ e xt e nsi v e di s c o v er y i n t his c as e. ” O p p. at 2 0 –

2 2. B ut t h e iss u e is n ot t h e v ol u m e of all e g ati o ns, b ut t h eir s p e cifi cit y. T h e I n di ct m e nt c o nsists

of littl e m or e t h a n a list of c or p or at e e v e nts , c o m m u ni c ati o ns, a n d tr a d es t h at h a v e n ot hi n g

c o n n e cti n g t h e m b ut t h eir t e m p or al pr o xi mit y. F o r e x a m pl e, t h e g o v er n m e nt all e g es t h at A us p e x

“si g n e d a c o nfi d e nti alit y a gr e e m e nt ” wit h a p ot e nti al s uit or o n M ar c h 6, I n di ct. ¶ 4 2, t h at Dr.

S ars h ar m a d e a t w o- mi n ut e c all t o Ass o ci at e- 1 l at er t h at d a y, i d., a n d t h at Ass o ci at e- 1 p ur c h as e d

A us p e x st o c k t hr e e d a ys l at er, i d. ¶ 4 3. B ut t h e g o v er n m e nt d o es n ot all e g e t h at Dr. S ars h ar w as

pr es e nt w h e n A us p e x e x e c ut e d t h e c o nfi d e nti alit y a gr e e m e nt, w h e n a n d h o w h e b e c a m e a w ar e of

it (if h e e v er di d), or w h at h e c o m m u ni c at e d t o Ass o ci at e- 3 d uri n g t h eir e x c h a n g e o n M ar c h 6.

Si mil arl y, t h e g o v er n m e nt all e g es t h at “t h e A us p e x C E O a n d ot h er s e ni or r e pr es e nt ati v es of

A us p e x p arti ci p at e d i n i n- p ers o n m e eti n gs i n Isr a el ” wit h T ev a i n F e br u ar y 2 0 1 5, i d. ¶ 4 4, t h at

Dr. S ars h ar s p o k e wit h Ass o ci at e- 4 w hil e t h os e m e eti n gs w er e o n g oi n g, i d. ¶ 4 5, a n d t h at

Ass o ci at e- 4 p ur c h as e d A us p e x st o c k t h e d a y aft er t h e m e eti n gs c o n cl u d e d, i d. B ut a g ai n, t h e

g o v er n m e nt d o es n ot all e g e w h et h er Dr. S ars h ar w as pr es e nt at t h e m e eti n gs wit h T e v a i n Isr a el

( h e w as n ot), w h et h er or h o w h e b e c a m e a w ar e of t h e c o nt e nt of t h e dis c ussi o ns, a n d w h et h er h e

c o m m u ni c at e d t h at i nf or m ati o n t o Ass o ci at e- 4.




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           T h e g o v er n m e nt’s ass erti o n t h at Dr. S ars h ar’s d ef e nsi v e m oti o ns d e m o nstr at e t h at h e h as

a c q uir e d s uffi ci e nt i nf or m ati o n t hr o u g h dis c o v e r y t o pr e p ar e f or tri al is mist a k e n. S e e O p p. at

2 2. Dr. S ars h ar’s m oti o ns h a v e m a d e a b est g u ess at t h e g o v er n m e nt’s t h e ori es a n d e vi d e n c e, b ut

t h er e is n o t elli n g w h et h er t h os e m oti o ns h a v e c orr e ctl y c h ar a ct eri z e d t h e g o v er n m e nt’s c as e.

M or e i m p ort a ntl y, t h er e is n ot hi n g t o st o p t h e g o v er n m e nt fr o m c h a n gi n g its t h e or y of t h e c as e

s h o ul d t h e C o urt fi n d f or Dr. S ars h ar o n t h es e m oti o ns. T h e v er y p ur p os e of a bill of p arti c ul ars

is t o f or c e t h e g o v er n m e nt t o dis cl os e t h e n at ur e of t h e c h ar g es wit h s uffi ci e nt s p e cifi cit y t h at t h e

d ef e n d a nt is n ot l eft t o att a c k a m o vi n g t ar g et as tri al pr o gr ess es . N eit h er t h e I n di ct m e nt n or t h e

g o v er n m e nt’s dis c o v er y pr o d u cti o n a c c o m plis h es t his p ur p os e.

           I n d e e d, f ar fr o m cl arif yi n g m att ers, as t h e g o v er n m e nt c o nt e n ds, dis c o v er y i n t his c as e

o nl y f urt h er o bf us c at es t h e n at ur e of t h e c h ar g es a g ai nst Dr. S ars h ar. F or e x a m pl e, t h e

I n di ct m e nt all e g es t h at Dr. S ars h ar “ pr o vi d e d Ass o ci at e- 1 wit h c o nfi d e nti al i nf or m ati o n

r e g ar di n g a p ossi bl e t e n d er off er f or A us pe x ” o n M ar c h 1 1, 2 0 1 5, a n d l at er t h e s a m e d a y,

“ Ass o ci at e- 1 r e c o u nt e d t o t h e C W t h e c o nfi d e nti al i nf or m ati o n . . . r e g ar di n g t h e a nti ci p at e d

t e n d er off er. ” I n di ct. ¶ ¶ 2 1 – 2 2.




                                                                              S o w h at is t h e g o v er n m e nt’s t h e or y of

li a bilit y ? T h at Dr. S ars h ar pr o vi d e d i n c orr e ct or misl e a di n g M N PI t o t h e all e g e d ti p p e es ? T h at

h e pr o vi d e d M N PI b ut s o m e all e g e d ti p p e es di d n ot b eli e v e hi m ? T h at t h e all e g e d ti p p e es w o ul d

h a v e s ol d m or e s h ar es b ut f or t h e M N PI t h e y p ur p ort e dl y r e c ei v e d fr o m Dr. S ars h ar ? Or

s o m et hi n g els e ? Or d o es t h e g o v er n m e nt s e e k t o h ol d Dr. S ars h ar li a bl e n ot f or t h es e tr a d es, b ut




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f or s o m e ot h er tr a d es b y ot h er all e g e d ti p p e es or r e m ot e ti p p e es ? T h ere is n o w a y t o t ell — a n d

t h us n o w a y f or Dr. S ars h ar t o pr e p ar e a d ef e ns e.

           Dr. S ars h ar d o es n ot s e e k t h e “t h e G o v er n m e nt’s or d er of pr o of ” or t o c o m p el dis cl os ur e

of “t h e m a n n er i n w hi c h [t h e g o v er n m e nt] will att e m pt t o pr o v e t h e c h ar g es . . . or a pr e vi e w of

t h e G o v er n m e nt’s e vi d e n c e or l e g al t h e ori es. ” C o ntr a O p p. at 2 5 – 2 6. T h at is h y p er b ol e. T h e

d ef e ns e d o es n ot s e e k a wit n ess list, list of e x hi bits, or a n u n d erst a n di n g of h o w t h e g o v er n m e nt

i nt e n ds t o pr o v e its c h ar g es. R at h er, t h e d ef e ns e m er el y s e e ks t o u n d erst a n d t h e c h ar g es. T h e

g o v er n m e nt’s r esist a n c e is t elli n g a n d hi g hl y pr ej u di ci al.

           T h e g o v er n m e nt is si mil arl y mis g ui d e d i n its ass erti o n t h at a d diti o n al dis cl os ur es w o ul d

“ all o w[] Dr. S ars h ar t o t ail or a n y t esti m o n y t o t h e G o v er n m e nt’s c as e m or e t h a n ei g ht m o nt hs

b ef or e tri al. ” O p p. at 2 3. Tri al b y a m b us h is n ot t h e a ns w er t o t h e s p e c ul ati v e ris k t h at a

d ef e n d a nt m a y b e b ett er pr e p ar e d t o r e b ut all e g ati o ns if h e k n o ws w h at t h e y ar e. O ur v er y

s yst e m of j usti c e a n d D u e Pr oc ess r e q uir es s u c h dis cl os ur e. S e e U nit e d St at es v. H er n a n d ez , 9 8 0

F. 2 d 8 6 8, 8 7 1 ( 2 d Cir. 1 9 9 2) ( “ T h e p ur p os e of [ R ul e 7] is t o gi v e a d ef e n d a nt a d e q u at e n oti c e of

t h e c h ar g es . . . t o e n a bl e hi m t o pr e p ar e a d ef e ns e. ”); U nit e d St at es v. B e ntl e y , 2 0 0 6 W L

2 1 9 3 4 5 3, at * 6 ( D. Or e. J ul y 3 1, 2 0 0 6) ( “ C o urts h a v e c o nstr u e d [ R ule 7] t o r e q uir e, li k e t h e D u e

Pr o c ess Cl a us e, t h at t h e i n di ct m e nt gi v e s uffi ci e nt n oti c e of t h e cri m e t o pr e p ar e a d ef e ns e a n d

pl e a d d o u bl e j e o p ar d y. ”). T h at is w h y t h e i n q uir y f o c us es n ot o n h o w a bill of p arti c ul ars will

aff e ct t h e g o v er n m e nt’s c as e, b ut h o w t h e l a c k of a bill of p arti c ul ars will aff e ct t h e d ef e n d a nt’s.

I n a n y e v e nt, t h e g o v er n m e nt’s c y ni c al s u g g estio n t h at Dr. S ars h ar will m a ni p ul at e his t esti m o n y

i n r es p o ns e t o a bill of p arti c ul ars is u nj ustifi ed. Dr. S ars h ar h as n o n e e d t o d o s o b e c a us e h e di d

n ot hi n g wr o n g. Fi n all y, t h e g o v er n m e nt c o n c e d es t h at it will h a v e t o pr o d u c e a d diti o n al

i nf or m ati o n a b o ut its c h ar g es b ef or e tri al, s o t he ris k it p ur p ort e d l y f e ars is u n a v oi d a bl e.




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           T h e g o v er n m e nt’s a ut h oriti es pr o vi d e n o b asis f or d e n yi n g t his r e q u est.5 S e e O p p. at 2 4 –

2 5. I n U nit e d St at es v. Bl a kst a d , t h e d ef e n d a nt r eli e d o nl y o n t h e v ol u mi n o us dis c o v er y

pr o d u c e d b y t h e g o v er n m e nt i n ur gi n g t h at a bill of p arti c ul ars w as n e c ess ar y. S e e N o. 1 9- cr- 4 8 6

( S. D. N. Y.), D kt. 4 9 at 5 ( “[ T] h e pr os e c uti o n h as t ur n e d o v er 1. 7 milli o n ‘fil es’ o n h ar d dri v e,

r e pr es e nti n g p h o n e r e c or ds, tr a di n g r e c or ds, s o ci al m e di a, a n d b a n k r e c or ds. . . . W h e n t h e

pr etri al dis c o v er y is s o v ol u mi n o us t h at t h e a c c us e d r e m ai ns i n t h e d ar k a b o ut t h e cri mi n al a cts

wit h w hi c h h e is a c c us e d, a bill of p arti c ul ars s h o ul d b e gr a nt ed. ”). T h e c o urt r ej e ct e d t h e

d ef e n d a nt’s ar g u m e nts, a c k n o wl e d gi n g t h at “ bills of p arti c ul ars m a y b e or d er e d w h e n t h e

pr os e c uti o n i n u n d at es t h e d ef e ns e t e a m wit h n u m er o us fil es t o sift t hr o u g h, ” b ut c o n cl u di n g t h at

“t h e d et ails c o nt ai n e d wit hi n t h e G o v er n m e nt ’s pr o d u cti o n a n d t h e m a n n er i n w hi c h it is

or g a ni z e d ” u n d er mi n e d t h e n e e d f or a bill of p arti c ul ars. 2 0 2 0 W L 5 9 9 2 3 4 7, at * 1 1 ( S. D. N. Y.

O ct. 9, 2 0 2 0). As n ot e d a b o v e, h o w e v er, t h e pri n ci p al b asis f or Dr. S ars h ar’s r e q u est is t h e

v a g u e a n d a m bi g u o us n at ur e of t h e g o v e r n m e nt’s all e g ati o ns — a n iss u e t h at Bl a kst a d di d n ot

a d dr ess.

           M or e o v er, u nli k e i n Bl a kst a d , t h e dis c o v er y pr o d u c e d b y t h e g o v er n m e nt i n t his c as e is a

m ess. T h e g o v er n m e nt pr o d u c e d m or e t h a n       2 5 0 gi g a b yt es of d at a — a p pr o xi m at el y 7 0 0, 0 0 0

d o c u m e nts —i n m ulti pl e diff er e nt fil e f or m ats (l o a d fil es, n ati v e fil es, f or e nsi c i m a g e) t h at t o o k

o v er a w e e k t o e xtr a ct a n d i n v e nt or y. I n v e nt or yi n g t h e pr o d u c ti o n w as f urt h er c o m pli c at e d b y


  5
       T h e G o v er n m e nt o d dl y a c c us es Dr. S ars h ar of “ citi n g i n a p p osit e ci vil c as es f or g e n er al
      pr o n o u n c e m e nts r e g ar di n g t h e m at eri alit y of ‘ pr eli mi n ar y, c o nti n g e nt, a n d s p e c ul ati v e’
      a c q uisiti o n dis c ussi o ns. ” O p p. at 2 6 ( citi n g M ot. at 2 3). B ut t h e s a m e st a n d ar d of m at eri alit y
      o utli n e d i n B asi c I n c. v. L e vi ns o n , 4 8 5 U. S. 9 7 8 ( 1 9 8 8), a p pli es i n b ot h ci vil a n d cri mi n al
      c as es. S e e U nit e d St at es v. N a c c hi o , 6 0 8 F. S u p p. 2 d 1 2 3 7, 1 2 4 7 ( D. C ol o. 2 0 0 9)
      ( c o n cl u di n g t h at, alt h o u g h “[t] h e D ef e n d a nt r aises i nt er esti n g t h e or eti c al q u esti o ns as t o
      w h et h er a diff er e nt st a n d ar d s h o ul d b e a p pli e d wit h r e g ar d t o f or w ar d-l o o ki n g pr oj e cti o ns i n
      i nsi d er tr a di n g c as es, es p e ci all y cri mi n al a cti o ns, ” “[t] h e B asi c d efi niti o n of m at eri alit y
      r e m ai ns t h e c urr e nt l e g al st a n d ar d ” i n cri mi n al c as es).


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t h e l a c k of a c o m pr e h e nsi v e i n d e x e x pl ai ni n g w h er e k e y r e c or ds c o ul d b e f o u n d. I n a d diti o n,

m a n y d o c u m e nts arri v e d i n a c orr u pt e d f or m at, n e c essit ati n g m ulti pl e f oll o w- u ps wit h t h e

g o v er n m e nt.    M e a n w hil e, ot h er fil es, i n cl u di n g Dr. S ars h ar’s i Cl o u d a c c o u nt, w er e c o mi n gl e d

wit h t h e i Cl o u d a c c o u nts of ot h ers, r e q uiri n g f u rt h er c o n v ers ati o ns wit h t h e g o v er n m e nt t o

u n d erst a n d w hi c h m at eri al b el o n g e d t o w h o m.

           I n U nit e d St at es v. Pi nt o- T h o m az , t h e c o urt d e ni e d a m oti o n f or a bill of p arti c ul ars

b e c a us e of t h e e xt e nsi v e dis cl os ur es b y t h e g o v e r n m e nt i n t h e I n di ct m e nt, i n cl u di n g h a vi n g

“ cl e arl y d es cri b e[ d] ” t h e all e g e d M N PI, w h at ti m e a n d i n w h at c a p a cit y t h e d ef e n d a nt a c q uir e d

t h e M N PI, t h e d ef e n d a nt’s s u bs e q u e nt c o nt a ct wit h t h e ti p p e e, a n d t h e ti p p e e’s tr a d es t h er e aft er.

3 5 2 F. S u p p. 3 d 2 8 7, 3 0 2 ( S. D. N. Y. 2 0 1 8); s e e als o U nit e d St at es v. Pi nt o- T h o m az , N o. 1 8- cr-

5 7 9-J S R ( S. D. N. Y.), D kt. 6 4 at ¶ ¶ 1 0, 2 1 – 2 3 [ S u p ers e di n g I n di ct m e nt] ( all e gi n g t h at t h e

d ef e n d a nt r e c ei v e d “t h e pri c e t h at S h er wi n- Willi a ms w o ul d off er p er V als p ar s h ar e . . . a n d t h e

f a ct t h at t h e tr a ns a cti o n h a d b e e n a p pr o v e d b y S h er wi n- Willi a ms’ a n d V als p ar’s B o ar ds of

Dir e ct ors, ” t h at h e s e nt a t e xt t o t h e ti p p e e t h at s a m e d a y s a yi n g “ gi v e m e a s h o ut w h e n y o u h a v e

s o m e ti m e, ” t h at t h e ti p p e e s u bs e q u e ntl y o p e n e d a br o k er a g e a c c o u nt a n d t e xt e d t h e d ef e n d a nt

“‘ A c c o u nt is o p e n’ a n d ‘ L et’s m e et t o m orr o w’s [si c],’ ” a n d t h at t h e ti p p e e t h er e aft er p ur c h as e d

V als p ar st o c k). T his is pr e cis el y t h e i nf or m a ti o n t h at Dr. S ars h ar s e e ks fr o m t h e g o v er n m e nt

n o w, b ut w hi c h t h e g o v er n m e nt r ef us es t o pr o vi d e.

           Si mil arl y, i n U nit e d St at es v. W alt ers , t h e c o urt d e ni e d a m oti o n f or a bill of p arti c ul ars i n

p art d u e t o “t h e d et ail e d i n di ct m e nt, t h e dis c o v er y t h at’s b e e n pr o d u c e d, t h e s e ar c h a bilit y of t h e

dis c o v er y, [ a n d] t h e i n d e x, ” b ut it gr a nt e d t h e m oti o n a n d r e q uir e d t h e g o v er n m e nt “t o i d e ntif y

all tr a d es t h at [it] c o nt e n d[s] ar e u nl a wf ul. ” N o. 1 6- cr- 3 3 8- PK C ( S. D. N. Y.), D kt. 5 1 at 2 7.

H er e, b y c o ntr ast, t h e g o v er n m e nt h as n ot pr o vi d e d a “ d et ail e d i n di ct m e nt, ” at l e ast i ns of ar as t h e




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a ct u al b asis f or t h e g o v er n m e nt’s all e g ati o ns ar e c o n c er n e d. S e e s u pr a at I. B., 1 3; c o m p ar e

W alt ers , N o. 1 6- cr- 3 3 8- P K C ( S. D. N. Y.), D kt. 8 at ¶ 2 3 [I n di ct m e nt] ( all e gi n g t h at t h e ti p p e e

arr a n g e d “t o pr o vi d e [t h e ti p p er] wit h a l o a n of $ 6 2 5, 0 0 0 wit h i nt er est ” i n e x c h a n g e f or

i nf or m ati o n “t h at D e a n F o o ds h a d e n g a g e d a n i n v est m e nt b a n k t o e x pl or e str at e gi c p ossi biliti es

t o s e p ar at e W hit e w a v e fr o m D e a n F o o ds, ” a n d t h at o n t h e n e xt b usi n ess d a y t h e ti p p e e

“ p ur c h as e d o n e milli o n s h ar es of D e a n F o o ds st o c k, w hi c h c o nstit ut e d a p pr o xi m at el y 2 1 p er c e nt

of t h e d ail y tr a di n g v ol u m e i n t h e st o c k ”). A n d t h e g o v er n m e nt h as n ot i d e ntifi e d w hi c h of t h e

all e g e d ti p p e es’ a n d r e m ot e ti p p e es’ tr a d es it c o nt e n ds ar e u nl a wf ul —i nf o r m ati o n t h at t h e c o urt

or d er e d t h e g o v er n m e nt t o i d e ntif y i n W alt ers .6

            I n s h ort, t h e g o v er n m e nt t a k es t h e vi e w t h at t h e C o urt s h o ul d e n g a g e i n a ri gi d,

m e c h a ni c al a n al ysis —si m pl y c o u nti n g t h e p ar a gr a p hs i n or p a g es of t h e I n di ct m e nt a n d t h e

q u a ntit y of dis c o v er y pr o d u c e d — w h e n e v al u ati n g a m oti o n f or a bill of p arti c ul ars. B ut t h e

i n q uir y is n ot s o si m plisti c.       W h er e t h e g o v er n m e nt pr o d u c es a R ors c h a c h t est of a n i n di ct m e nt

t h at l e a v es t h e d ef e n d a nt g u essi n g as t o t h e b as es f or t h e c h ar g e s a g ai nst hi m, t o g et h er wit h

r e a ms of dis c o v er y t h at o bs c ur es r at h er t h a n clarifi es t h e g o v er n m e nt’s t h e or y of li a bilit y, t h e

d ef e n d a nt c a n n ot r e as o n a bl y b e e x p e ct e d t o m o u nt a m e a ni n gf ul d ef e ns e. T h at is pr e cis el y w h at

h as h a p p e n e d h er e. As a r es ult, t h e C o urt s h o ul d gr a nt Dr. S ars h ar’s m oti o n a n d or d er t h e

g o v er n m e nt t o pr o d u c e a bill of p arti c ul ars.


  6
      I n U nit e d St at es v. St e w art , t h e c o urt f o u n d t h at a bill of p arti c ul ars w as n ot n e c ess ar y
       b e c a us e, a m o n g ot h er r e as o ns, “[t] h e I n di ct m e nt a n d t h e C o m pl ai nt c o nt ai n s uffi ci e nt d et ail
       r e g ar di n g t h e n at ur e of [t h e d ef e n d a nt’s] bre a c h of fi d u ci ar y d ut y, t h e c h ar a ct er of t h e
       p ers o n al b e n efit h e s o u g ht t o r e c ei v e f or his p arti ci p ati o n i n t h e all e g e d s c h e m e a n d t h e
       ‘ m e a ni n gf ull y cl os e p ers o n al r el ati o ns hi p’ t h at e xist e d b et w e e n hi m a n d his ti p p e e, his f at h er
       R o b ert. ” N o. 1 5- cr- 2 8 7-J S R ( S. D. N. Y.), D kt. 6 4 at 2 2 n. 6. H er e, t h e g o v er n m e nt d o es n ot
       all e g e w h at i nf or m ati o n Dr. S ars h ar dis cl os e d i n vi ol ati o n of his d ut y t o A us p e x, t h e b e n efit
       h e s o u g ht t o g ai n fr o m it (if a n y), a n d w h y h e w o ul d h a v e s h ar e d p ur p ort e d M N PI wit h s o m e
       i n v est ors b ut n ot ot h ers.


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           C.          T h e C o u rt S h o ul d G r a nt t h e M oti o n t o St ri k e.

           T h e g o v er n m e nt ar g u es t h at t h e I n di ct m e nt’s all e g ati o ns r e g ar di n g Dr. S ars h ar’s all e g e d

“li es ” t o FI N R A a n d p ur p ort e d s h ari n g of M N PI, as w ell as it s us e of “ br o a d e ni n g l a n g u a g e ”

(s u c h as “ a m o n g ot h er t hi n gs ” a n d “i n cl u di n g ”), s h o ul d n ot b e stri c k e n b e c a us e t h e y si m pl y

“ pr o vi d e b a c k gr o u n d ” a n d “ d es cri b e t h e cir c u mst a n c es, m e a ns, a n d m et h o ds ” of t h e c h ar g e d

off e ns es. O p p. at 2 8. I n t h e alt er n ati v e, t h e g o v e r n m e nt ar g u es t h at t h es e all e g ati o ns c o nstit ut e

a d missi bl e “ ot h er a cts ” e vi d e n c e u n d er F e d er al R ul e of E vi d e n c e 4 0 4( b). I d. at 2 8- 2 9. Fi n all y,

t h e g o v er n m e nt cl ai ms t h at a n y pr ej u di c e pr es e nt ed b y t h e s ur pl us a g e i n t h e I n di ct m e nt c a n b e

m a n a g e d t hr o u g h a j ur y i nstr u cti o n.   T h e g o v er n m e nt is wr o n g o n all c o u nts.

           First , w hil e t h e g o v er n m e nt i nsists t h at Dr. S arsh ar’s all e g e d “li es ” t o FI N R A s h o w t h at

h e “ att e m pt e d t o c o n c e al his cri m es, ” w hi c h s u p p os e dl y “is a d missi bl e as dir e ct e vi d e n c e of his

cri m es, ” O p p. at 3 0, t h e S e c o n d Cir c uit h as s q u a r el y h el d t h at all e g e d “‘f als e e x c ul p at or y

st at e m e nt[s]’ . . . [ ar e] n ot us e a bl e as dir e ct e vi d e n c e of [ a d ef e n d a nt’s] g uilt, ” U nit e d St at es v.

P err o n e , 9 3 6 F. 2 d 1 4 0 3, 1 4 0 9 ( 2 d Cir. 1 9 9 1) ( e m p h asis a d d e d); U nit e d St at es v. Di St ef a n o , 5 5 5

F. 2 d 1 0 9 4, 1 1 0 4 ( 2 d Cir. 1 9 7 7) ( “ F als e e x c ul p at or y st at e m e nts ar e n ot a d missi bl e as e vi d e n c e of

g uilt . . . . ”). N or c a n t h e FI N R A all e g ati o ns b e a d mitt e d t o pr o v e Dr. S ars h ar’s “ m oti v e, i nt e nt,

a n d k n o wl e d g e ” or “ c o ns ci o us n ess of g uilt. ” O p p. at 3 0. Dr. S ars h ar’s p ur p ort e d “li es ” a m o u nt

t o n ot hi n g m or e t h a n his st at e m e nt t o T e v a’s c o m p a n y c o u ns el, s e nt wit h o ut t h e a d vi c e of a

p ers o n al l a w y er o nl y 9 0 mi n ut es aft er r e c ei vi n g FI N R A’s i n q uir y, t h at h e “ c o ul d n ot r e c all ”

c o m m u ni c ati n g wit h t w o i n di vi d u als m or e t h a n si x m o nt hs e arli er. I n di ct. ¶ 1 0; s e e als o i d.

¶ ¶ 2 4, 4 2, 5 4 b, 5 5 b, 5 6 b, 5 7. T h e g o v er n m e nt c a n n ot dis p ut e t h at “ n ot b ei n g a bl e t o r e c all w h at

h a p p e n e d is n ot t h e s a m e as l yi n g a b o ut t h e e v e nts. ” U nit e d St at es v. E d w ar ds , 4 7 3 F. A p p’ x

4 2 9, 4 3 5 ( 6t h Cir. 2 0 1 2); U nit e d St at es v. N e al y , 2 0 1 6 W L 3 6 6 0 2 6 6, at * 2 ( A. Ct. Cri m. A p p.




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J u n e 3 0, 2 0 1 6), aff’ d , ( C. A. A. F. M a y 4, 2 0 1 7) ( “ T h e f a ct t hat o n e d o es n ot r e m e m b er s o m et hi n g

d o es n ot tr a nsf or m t h e l a c k of r e c oll e cti o n t o a f als e offi ci al st at e m e nt ”). Dr. S ars h ar’s

st at e m e nts t o FI N R A ar e n ot “li es ” at all a n d ar e t h er ef or e irr el e v a nt t o his g uilt or g uilt y

c o ns ci e n c e. T h e y s h o ul d t h er ef or e b e stri c k e n.

           S e c o n d , t h e i m pli e d all e g ati o ns, g e n er ali z ati o ns, a n d s p e c ul ati o n i n t h e I n di ct m e nt d o n ot

“ c o nstit ut e r el e v a nt b a c k gr o u n d t o t h e c h ar g e d c o n d u ct ” or “ d es cri b e r el e v a nt cir c u mst a n c es,

m e a ns, a n d m et h o ds of [ Dr. S ars h ar’s] off e ns es. ”             O p p. at 3 1. I n f a ct, t h e g o v er n m e nt w h oll y

f ails t o a d dr ess t h e gl ari n g h ol es i n t h es e all e g ati o ns:

                I n di ct. ¶ ¶ 4 2- 4 3: T h e g o v er n m e nt ass erts t h at Dr. S ars h ar “ c all e d Ass o ci at e- 3 o n t h e

                 s a m e d a y t h at A us p e x si g n e d a c o nfi d e nti a lit y a gr e e m e nt wit h a p ot e nti al s uit or

                 diff er e nt fr o m T e v a, ” aft er w hi c h “ A ss o ci at e- 3 b e g a n p ur c h asi n g s u bst a nti al

                 q u a ntiti es of A us p e x st o c k. ” O p p. at 3 1. B ut t h er e ar e n o all e g ati o ns t h at Dr. S ars h ar

                 w as a w ar e of t h e c o nfi d e nti alit y a gr e e m e nt, or t h at h e dis c uss e d it wit h Ass o ci at e- 3.

                 A n d t h e g o v er n m e nt d o es n ot dis p ut e t h at t h e e xist e n c e of a c o nfi d e nti alit y a gr e e m e nt

                 d o es n ot c o nstit ut e M N PI as a m att er of l a w. S e e, e. g. , I n r e C ol u m bi a Pi p eli n e, I n c.,

                 4 0 5 F. S u p p. 3 d 4 9 4, 5 2 0 ( S. D. N. Y. 2 0 1 9).

                I n di ct. ¶ 2 6: T h e g o v er n m e nt all e g es t h at Dr. S ars h ar c all e d Ass o ci at e- 1 o n M ar c h

                 1 7, 2 0 1 5, a n d “ a cl os e f a mil y m e m b er of Ass o ci at e- 1’s ” tr a d e d i n A us p e x l at er t h at

                 d a y. B ut t h er e ar e n o all e g ati o ns Ass o ci at e- 1 a n d t h e f a mil y m e m b er e v e n

                 c o m m u ni c at e d o n M ar c h 1 7, or t h at Ass o ci at e- 1 s h ar e d M N PI all e g e dl y r e c ei v e d

                 fr o m Dr. S ars h ar, a n d t h e g o v er n m e nt’s o p p ositi o n d o es n ot cl ai m ot h er wis e.

                I n di ct. ¶ ¶ 3 0- 3 2: T h e g o v er n m e nt all eg es t h at o n F e br u ar y 2 4, 2 0 1 5, Dr. S ars h ar

                 e x c h a n g e d t e xt m ess a g es wit h Ass o ci at e- 2 o n “t h e s a m e d a y T e v a s u b mitt e d t o




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                A us p e x its n o n- bi n di n g pr o p os al t o a c q uir e A us p e x. ” Ass o ci at e- 2 t h e n all e g e dl y

                “ c all e d t h e a d mi nistr at or of h er S e cti o n 4 0 1( k) pl a n ” t o m o v e f u n ds i nt o a s elf-

                dir e ct e d br o k er a g e f u n d t o “ p ur c h as e A u s p e x ” s h ar es.




               I n di ct ¶ ¶ 4 4- 4 5: T h e g o v er n m e nt all e g es Ass o ci at e- 4 p ur c h as e d A us p e x s h ar es t hr e e

                d a ys aft er s p e a ki n g wit h Dr. S ars h ar a n d f oll o wi n g me eti n gs b et w e e n A us p e x a n d

                T e v a e x e c uti v es i n Isr a el. B ut t h er e ar e n o all e g ati o ns t h at Dr . S ars h ar e v e n k n e w

                a b o ut t h e Isr a el m e eti n gs, l et al o n e t h at h e dis cl os e d t h e m t o Ass o ci at e- 4, a n d t h e

                g o v er n m e nt’s o p p ositi o n off ers n o n e w all e g ati o ns t o t h e c o ntr ar y.

           T h e g o v er n m e nt b al dl y ass erts t h at t h e a b o v e p ar a gr a p hs ar e a d missi bl e as “r el e v a nt

b a c k gr o u n d ” t o d e m o nstr at e “ h o w a n d w h e n t h e d ef e n d a nt pr o vi d e d Ass o ci at e- 1, Ass o ci at e- 2

a n d Ass o ci at e- 4 wit h M N PI, a n d w h at t h e y di d aft er r e c ei vi n g M N PI. ” O p p. at 3 1. B ut as

o utli n e d a b o v e, t h es e s p e c ul ati v e all e g ati o ns ar e e ntir el y d e v oi d of r el e v a nt criti c al f a cts s h o wi n g

t h at Dr. S ars h ar a ct u all y pro vi d e d a n y of t h e Ass o ci at es wit h M N PI — a n d t h e g o v er n m e nt’s

o p p ositi o n d o es n ot hi n g t o fill i n t h e g a ps. T h e al l e g ati o ns ar e t h er ef or e “ n ot r el e v a nt t o t h e

cri m e[s] c h ar g e d ” a n d ar e m er el y “i nfl a m m at or y a n d pr ej u di ci al. ” U nit e d St at es v. M ul d er , 2 7 3

F. 3 d 9 1, 9 9- 1 0 0 ( 2 d Cir. 2 0 0 1).

           If a n yt hi n g, t h e g o v er n m e nt a p p e ars t o r el y o n i m pli e d all e g ati o ns t h at Dr. S ars h ar

e n g a g e d i n a “ p att er n or pr a cti c e ” of s h ari n g M N PI wit h Ass o ci at es. B ut w h er e a p art y off ers

e vi d e n c e “t o d e m o nstr at e a p att er n of r el e v a nt c o n d u ct, t h e e vi d e n c e m ust ‘s h ar e u n us u al




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c h ar a ct eristi cs wit h t h e a ct c h ar g e d or r e pr es e nt a u ni q u e s c h e m e,’ ” m e a ni n g t h at t h e t w o a cts ar e

“s o u n us u al a n d disti n cti v e t o b e li k e a si g n at ur e. ” St e p h e n v. H a nl e y , 2 0 0 9 W L 1 4 7 1 1 8 0, at * 1 2

( E. D. N. Y. M a y 2 1, 2 0 0 9) ( q u oti n g B er k o vi c h v. Hi c ks , 9 2 2 F. 2 d 1 0 1 8, 1 0 2 2 ( 2 d Cir. 1 9 9 0)).

T h e g o v er n m e nt c a n n ot m e et t h at hi g h b ur d e n h er e, as it f ails e v e n t o all eg e f a cts t h at c o n n e ct

t h e d ots s h o wi n g t h at Dr. S ars h ar all e g e dl y s h ar e d M N PI. U nit e d St at es v. G ar ci a , 2 9 1 F. 3 d

1 2 7, 1 3 8- 3 9 ( 2 d Cir. 2 0 0 2) ( “[ g]i v e n t h e l a c k of a n y c o n n e cti o n b et w e e n t h e t w o off e ns es . . . w e

fi n d t h at t h e c o urt a b us e d its dis cr eti o n ” i n a d mitti n g “ ot h er a cts ” e vi d e n c e).

           T hir d , t h e g o v er n m e nt ar g u es t h at c ert ai n “ br o a d e ni n g l a n g u a g e ” ( e. g., “ a m o n g ot h er

t hi n gs ” a n d “i n cl u di n g ”) is pr o p erl y i n cl u d e d i n t h e I n di ct m e nt b e c a us e it “ a p pr o pri at el y

s u m m ari z e[s] a n d s et[s] f ort h t h e r el e v a nt cir c u mst a n c es, m e a ns, a n d m et h o ds b y w hi c h [ Dr.

S ars h ar] c arri e d o ut his cri m es . ” O p p. at 3 2. B ut t h e p ar a gra p hs at iss u e d o n ot si m pl y

“s u m m ari z e ” t h e “i nf or m ati o n t h at f oll o ws ” i n t h e I n di ct m e nt. I d. at 3 1- 3 2. P ar a gr a p h 1 0, f or

e x a m pl e, st at es t h at Dr. S ars h ar “li e d ” t o FI N R A, b e c a us e “ [ a] m o n g ot h er t hi n gs , ” h e “f als el y

st at e d t h at h e c o ul d n ot r e c all h a vi n g a n y c o nt a ct ” wit h t w o ass o ci at es. H er e, “ a m o n g ot h er

t hi n gs ” s u p p os e dl y r ef ers t o ot h er w a ys i n w hi c h Dr. S ars h ar all eg e dl y li e d t o FI N R A, b ut t h e

I n di ct m e nt d o es n ot c o nt ai n a n y e xa m pl es ot h er t h a n t h at list e d i n p ar a gr a p h 1 0. T h e s a m e is

tr u e wit h r es p e ct t o t h e w or d “in cl u d e d ” or “i n cl u di n g ” i n p ar a gr a p hs 2 1 a n d 2 2 —t h e I n di ct m e nt

pr o vi d es n o ot h er ill ustr ati v e e x a m pl es ot h er t h a n t h os e list e d. I n p ar a gr a p h 2 4, it is u n cl e ar

w h et h er “[ a] m o n g ot h er t hi n gs ” r ef ers t o t h e c o nt a cts b et w e e n Dr. S ars h a r a n d Ass o ci at e- 1 list e d

i n t h at p ar a gr a p h, or if it is m e a nt t o i m pl y t h at t h er e w er e ot h er c o nt a cts n ot d es cri b e d i n t h e

I n di ct m e nt. It is pr e cis el y b e c a us e p hr as es li k e “ a m o n g ot h er t hi n gs ” i ntr o d u c e a m bi g uit y a b o ut

t h e c o n d u ct c h ar g e d t h at t h e y ar e r o uti n el y stri c k e n. S e e, e. g. , U nit e d St at es v. K assir , 2 0 0 9 W L

9 9 5 1 3 9, at * 3 ( S. D. N. Y. A pr. 9, 2 0 0 9); U nit e d St at es v. M a n g o , 1 9 9 7 W L 2 2 2 3 6 7, at * 1 6




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( N. D. N. Y. M a y 1, 1 9 9 7); U nit e d St at es v. D e F a brit us , 6 0 5 F. S u p p. 1 5 3 8, 1 5 4 7 ( S. D. N. Y.

1 9 8 5); U nit e d St at es v. D e P al m a , 4 6 1 F. S u p p. 7 7 8, 7 9 8 ( S. D. N. Y. 1 9 7 8); U nit e d St at es v. P o p e ,

1 8 9 F. S u p p. 1 2, 2 5- 2 6 ( S. D. N. Y. 1 9 6 0).

           T h e g o v er n m e nt ar g u es t h at t h e “ br o a d e ni n g l a n g u a g e ” is p er missi bl e b e c a us e it

s u p p os e dl y a p p e ars o nl y i n t h e “ m e a ns p ar a gr a p hs ” of t h e I n di ct m e nt r at h er t h a n t h e c h ar gi n g

p ar a gr a p hs. O p p. at 3 2. T h e g o v er n m e nt ar g u e s t h at e v e n t h o u g h p ar a gr a p hs 1 0, 2 1, 2 2, a n d 2 4

ar e “i n c or p or at e d b y r ef er e n c e i n t h e c h ar gi n g p ar a gr a p hs, ” t h e y sh o ul d n o n et h el ess b e tr e at e d as

“ m e a ns p ar a gr a p hs ” b e c a us e “t h e y c o n c e ntr at e o n t h e m e a ns b y w hi c h t h e d ef e n d a nt c arri e d o ut

t h e c h ar g e d off e ns es. ” O p p. at 3 3 n. 8. B ut t h e c h all e n g e d p ar a gr a p hs ar e n ot m er el y

“i n c or p or at e d b y r ef er e n c e i n t h e c h ar gi n g p ar a gr a p hs ”; t h e y ar e t h e c h ar gi n g p ar a gr a p hs.

C o urts i n t his distri ct h a v e m a d e cl e ar t h at “ c h ar gi n g p ar a gr a p h[ s] . . . pr es e nt[] t h e m att er u p o n

w hi c h t h e gr a n d j ur y b as e d its a c c us ati o ns a g ai nst a d ef e n d a nt. ” U nit e d St at es v. W as hi n gt o n ,

9 4 7 F. S u p p. 8 7, 9 0 ( S. D. N. Y. 1 9 9 6); D e P al m a , 4 6 1 F. S u p p. at 7 9 8- 9 9 ( “ A c h ar gi n g p ar a gr a p h

i n t h e I n di ct m e nt s ets f ort h t h e gr a v a m e n of t he off e ns e as c h ar g e d b y t h e gr a n d j ur y ”). H er e, t h e

c h all e n g e d p ar a gr a p hs f oll o w t h e st at e m e nt o n p a g e 1 of t h e I n di ct m e nt, “ T h e Gr a n d J ur y

c h ar g es: . . . . ” T h er e c a n b e n o d o u bt t h at t h e p ar a gr a p hs i n t h e I n di ct m e nt t h at f oll o w —

i n cl u di n g t h e f o ur p ar a gr a p hs c o nt ai ni n g “ br o a d e ni n g l a n g u a g e ” — “ pr es e nt[] t h e m att er u p o n

w hi c h t h e gr a n d j ur y b as e d its a c c us ati o ns ” i n t his c as e. W as hi n gt o n , 9 4 7 F. S u p p. at 9 0; c.f.

D e P al m a , 4 6 1 F. S u p p. at 7 9 0 ( g e n er all y h ol di n g t h at m e a ns p ar a gr a p hs g o “t o t h e m att er of

pr o of t o s ust ai n t h e c h ar g es ” a n d s p e cifi c all y fi n di n g “t h e p ar a gr a p h t h at i ntr o d u c es t h e RI C O

c h ar g e ” t o b e t h e m e a ns p ar a gr a p h of t h e i n di ct m e nt). 7



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       C o ntr ar y t o t h e g o v er n m e nt’s ass erti o n, O p p. at 3 3 n. 8, U nit e d v. M a n g o , 1 9 9 7 W L 2 2 2 3 6 7
      ( N. D. N. Y. M a y 1, 1 9 9 7) is e ntir el y c o nsist e nt wit h t h e c as es o n w hi c h t h e g o v er n m e nt r eli es.
      All of t h es e c as es r e c o g ni z e t h at “[ a] c h ar gi n g p ar a gr a p h . . . s ets f ort h t h e gr a v a m e n of t h e

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           Fi n all y , t h e g o v er n m e nt ar g u es t h at a n y u nf air pr ej u di c e pr es e n t e d b y s ur pl us a g e i n t h e

I n di ct m e nt c a n b e c ur e d b y “i nstr u ct[i n g] . . . t h e j ur y t h at t h e I n di ct m e nt m er el y c o nt ai ns

c h ar g es or a c c us ati o ns, a n d is n ot e vi d e n c e. ” O p p. at 3 4. B ut if t h e s ur pl us all e g ati o ns i n t h e

I n di ct m e nt ar e n ot r el e v a nt t o t h e g o v er n m e nt’s c as e, t h er e is n o r e as o n w h y t h e C o urt s h o ul d

iss u e a li miti n g i nstr u cti o n r at h er t h a n si m pl y stri k e t h e pr ej u di ci al all e g ati o ns fr o m t h e

I n di ct m e nt. M ul d er , 2 7 3 F. 3 d at 9 9- 1 0 0 ( m oti o ns t o stri k e will b e gr a nt e d “ w h er e t h e c h all e n g e d

all e g ati o ns ar e n ot r el e v a nt t o t h e cri m e c h ar g e d a n d ar e i nfl a m m at or y a n d pr ej u di ci al ”). T h e

g o v er n m e nt als o ar g u es t h er e will b e n o u nf air pr ej u di c e t o Dr. S ars h ar if t h e j ur y is n ot gi v e n a

c o p y of t h e I n di ct m e nt, a p ossi bilit y it r ais es. S e e O p p. at 2 7 n. 6.           B ut e v e n if t h e I n di ct m e nt is

wit h h el d fr o m t h e j ur y, w hi c h it s h o ul d b e, Dr. S a rs h ar will still b e pr ej u di c e d if t h e i m pr o p erl y

i n cl u d e d s ur pl us a g e is n ot stri c k e n. F or e x a m pl e, if t h e I n di ct m e nt is l eft as is Dr. S ars h ar will

still b e l eft wit h o ut a d e q u at e n ot i c e of t h e e xt e nt of t h e a cts h e is b ei n g a c c us e d of, a n d h e will

still b e f or c e d t o d ef e n d a g ai nst t h e e ntir el y i rr el e v a nt FI N R A-r el at e d all e g ati o ns. T h e C o urt

s h o ul d stri k e p ar a gr a p hs 1 0, 2 4, 2 6, 3 0- 3 2, 4 2- 4 5, a n d 5 1- 5 7 t o “ pr ot e ct [ Dr. S ars h ar] a g ai nst

i m m at eri al or irr el e v a nt all e g ati o ns . . . w hi c h m a y ” b e pr ej u di ci al. F e d. R. Cri m. P. 7( d),

A d vis or y C o m mitt e e’s n ot e o n 1 9 4 4 e n a ct m e nt.

                                                       II.        C O N C L U SI O N

            F or t h e f or e g oi n g r e as o ns, w e r es p e ctf ull y r e q u est t h at t h e C o urt: (i) dis miss t h e

I n di ct m e nt as d u pli cit o us; (ii) or d er t h e g o v er n m e nt t o pr o vi d e a bill of p arti c ul ars; a n d (iii)

stri k e t h e pr ej u di ci al s ur pl us a g e i n t h e I n di ct m e nt.




     off e ns e as c h ar g e d b y t h e gr a n d j ur y,’ ” i d. at * 1 5 ( q u oti n g D e P al m a , 4 6 1 F. S u p p. at 7 9 8),
     a n d n o n e s u g g est t h at a p ar a gr a p h t h at f oll o ws t h e p hr as e, “ T h e Gr a n d J ur y c h ar g es: . . . ”
     s h o ul d n ot b e tr e at e d as a c h ar gi n g p ar a gr a p h.


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D at e d:    N e w Y or k, N e w Y or k      B y:        /s/ A vi W eitz m a n
              S e pt e m b er 1 0, 2 0 2 1
                                                     GI B S O N, D U N N & C R U T C H E R L L P
                                                     A VI W EI T Z M A N
                                                     REE D B R O DS K Y
                                                     2 0 0 P ar k A v e n u e
                                                     N e w Y or k, N Y 1 0 1 6 6
                                                     T el e p h o n e: 2 1 2. 3 5 1. 4 0 0 0
                                                     F a csi mil e: 2 1 2. 3 5 1. 4 0 3 5

                                                     C o u ns el f or D ef e n d a nt S e p e hr S ars h ar




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